Filed 11/15/19                                                                           Case 19-14644                                                                                            Doc 14
     Fill in this information to identify your case:

     Debtor 1                   Donald Duane Rose
                                First Name                           Middle Name                          Last Name

     Debtor 2                   Janice Marie Rose
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number           19-14644-A-7
     (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             532,648.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              34,550.00

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             567,198.00

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             345,000.00

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             228,031.00


                                                                                                                                         Your total liabilities $               573,031.00


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,962.63

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,414.00

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
     Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 11/15/19                                                             Case 19-14644                                                                Doc 14
     Debtor 1      Donald Duane Rose
     Debtor 2      Janice Marie Rose                                                          Case number (if known) 19-14644-A-7

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         864.13


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

           9d. Student loans. (Copy line 6f.)                                                                 $              0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $              0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 0.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
Filed 11/15/19                                                                               Case 19-14644                                                                              Doc 14
     Fill in this information to identify your case and this filing:

     Debtor 1                    Donald Duane Rose
                                 First Name                                 Middle Name                    Last Name

     Debtor 2                    Janice Marie Rose
     (Spouse, if filing)         First Name                                 Middle Name                    Last Name


     United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

     Case number            19-14644-A-7                                                                                                                             Check if this is an
                                                                                                                                                                     amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                          12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.

            Yes. Where is the property?




     1.1                                                                            What is the property? Check all that apply
            5438 W Prospect Ave.                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
            Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                           Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative

                                                                                           Manufactured or mobile home
                                                                                                                                      Current value of the      Current value of the
            Visalia                           CA        93291-0000                         Land                                       entire property?          portion you own?
            City                              State              ZIP Code                  Investment property                               $532,648.00                $532,648.00
                                                                                           Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                           Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one    a life estate), if known.
                                                                                           Debtor 1 only                              none
            Tulare                                                                         Debtor 2 only
            County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                           At least one of the debtors and another         (see instructions)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:




     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                      $532,648.00


     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes



    Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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Filed 11/15/19                                                                   Case 19-14644                                                                                 Doc 14
     Debtor 1       Donald Duane Rose
     Debtor 2       Janice Marie Rose                                                                                   Case number (if known)      19-14644-A-7

    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>                    $0.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
            Yes. Describe.....

                                        primary household                                                                                                           $1,500.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
            No
            Yes. Describe.....

    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
            No
            Yes. Describe.....

    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
            No
            Yes. Describe.....

    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....

    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          No
            Yes. Describe.....

                                        primary clothing                                                                                                              $200.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
          No
            Yes. Describe.....

                                        wedding bands                                                                                                                 $250.00



    Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
Filed 11/15/19                                                                                         Case 19-14644                                                                  Doc 14
     Debtor 1          Donald Duane Rose
     Debtor 2          Janice Marie Rose                                                                                          Case number (if known)   19-14644-A-7

    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
            No
            Yes. Describe.....

    14. Any other personal and household items you did not already list, including any health aids you did not list
            No
            Yes. Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                             $1,950.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
            No
            Yes................................................................................................................

    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
         No
         Yes........................                                     Institution name:

                                                                                                      Tulare County Federal Credit Union
                                                  17.1.       Checking                                6000                                                                   $800.00


                                                                                                      West America Bank
                                                  17.2.       Checking                                4546                                                                 $1,800.00


    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes..................                           Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
            No
            Yes. Give specific information about them...................
                                       Name of entity:                                                                             % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific information about them
                                        Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
            No
            Yes. List each account separately.
                                    Type of account:                                                  Institution name:




    Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 3
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Filed 11/15/19                                                                  Case 19-14644                                                                            Doc 14
     Debtor 1         Donald Duane Rose
     Debtor 2         Janice Marie Rose                                                                           Case number (if known)      19-14644-A-7

    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
            No
            Yes. .....................                                          Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
            Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
            No
            Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
            No
            Yes. Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
            No
            Yes. Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
            No
            Yes. Give specific information about them...

     Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.

    28. Tax refunds owed to you
            No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information......


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
            No
            Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                       Beneficiary:                             Surrender or refund
                                                                                                                                                  value:

    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
            No
            Yes. Give specific information..


    Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 4
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Filed 11/15/19                                                                                Case 19-14644                                                                                   Doc 14
     Debtor 1         Donald Duane Rose
     Debtor 2         Janice Marie Rose                                                                                                     Case number (if known)   19-14644-A-7


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim.........

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35. Any financial assets you did not already list
            No
            Yes. Give specific information..


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................               $2,600.00


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes. Go to line 38.



     Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
         No
            Yes. Give specific information.........

                                                   Solar Panels                                                                                                                     $30,000.00


     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                 $30,000.00

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................              $532,648.00
     56. Part 2: Total vehicles, line 5                                                                                $0.00
     57. Part 3: Total personal and household items, line 15                                                       $1,950.00
     58. Part 4: Total financial assets, line 36                                                                   $2,600.00
     59. Part 5: Total business-related property, line 45                                                              $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
     61. Part 7: Total other property not listed, line 54                                             +           $30,000.00

     62. Total personal property. Add lines 56 through 61...                                                      $34,550.00              Copy personal property total              $34,550.00

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $567,198.00



    Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 5
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
Filed 11/15/19                                                                   Case 19-14644                                                                          Doc 14
     Fill in this information to identify your case:

     Debtor 1                 Donald Duane Rose
                              First Name                        Middle Name                 Last Name

     Debtor 2                 Janice Marie Rose
     (Spouse if, filing)      First Name                        Middle Name                 Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           19-14644-A-7
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

               You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          5438 W Prospect Ave. Visalia, CA                               $532,648.00                              $125,000.00      C.C.P. § 704.730
          93291 Tulare County
          Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          primary household                                                $1,500.00                                 $1,500.00     C.C.P. § 704.020
          Line from Schedule A/B: 6.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          primary clothing                                                    $200.00                                  $200.00     C.C.P. § 704.020
          Line from Schedule A/B: 11.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          wedding bands                                                       $250.00                                $8,725.00     C.C.P. § 704.040
          Line from Schedule A/B: 12.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          Checking: Tulare County Federal                                     $800.00                                  $800.00     C.C.P. § 704.070
          Credit Union
          6000                                                                                 100% of fair market value, up to
          Line from Schedule A/B: 17.1                                                         any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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Filed 11/15/19                                                                   Case 19-14644                                                                             Doc 14
     Debtor 1    Donald Duane Rose
     Debtor 2    Janice Marie Rose                                                                           Case number (if known)     19-14644-A-7
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Checking: West America Bank                                      $1,800.00                                  $1,800.00        C.C.P. § 704.070
         4546
         Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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Filed 11/15/19                                                                    Case 19-14644                                                                                Doc 14
     Fill in this information to identify your case:

     Debtor 1                   Donald Duane Rose
                                First Name                      Middle Name                      Last Name

     Debtor 2                   Janice Marie Rose
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           19-14644-A-7
     (if known)                                                                                                                                       Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
     2.1     New Rez                                  Describe the property that secures the claim:               $315,000.00               $532,648.00                     $0.00
             Creditor's Name                          5438 W Prospect Ave. Visalia, CA
                                                      93291 Tulare County
                                                      As of the date you file, the claim is: Check all that
             PO Box 740039                            apply.
             Cincinnati, OH 45274                         Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
           Check if this claim relates to a               Other (including a right to offset)
           community debt

     Date debt was incurred                                    Last 4 digits of account number


     2.2     Sunnova Solar                            Describe the property that secures the claim:                 $30,000.00               $30,000.00                     $0.00
             Creditor's Name                          Solar Panels

             20 E Green Way Plaza
                                                      As of the date you file, the claim is: Check all that
             Suite 475                                apply.
             Houston, TX 77046                            Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
           Check if this claim relates to a               Other (including a right to offset)
           community debt

     Date debt was incurred                                    Last 4 digits of account number



    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
Filed 11/15/19                                                               Case 19-14644                                                                                Doc 14

     Debtor 1 Donald Duane Rose                                                                      Case number (if known)        19-14644-A-7
                  First Name                Middle Name                  Last Name
     Debtor 2 Janice Marie Rose
                  First Name                Middle Name                  Last Name




       Add the dollar value of your entries in Column A on this page. Write that number here:                        $345,000.00
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                       $345,000.00

     Part 2:    List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




    Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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Filed 11/15/19                                                                       Case 19-14644                                                                                     Doc 14
     Fill in this information to identify your case:

     Debtor 1                     Donald Duane Rose
                                  First Name                    Middle Name                        Last Name

     Debtor 2                     Janice Marie Rose
     (Spouse if, filing)          First Name                    Middle Name                        Last Name


     United States Bankruptcy Court for the:                EASTERN DISTRICT OF CALIFORNIA

     Case number           19-14644-A-7
     (if known)                                                                                                                                              Check if this is an
                                                                                                                                                             amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
               No. Go to Part 2.

               Yes.
     2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
           Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim           Priority           Nonpriority
                                                                                                                                                  amount             amount
                  California Department of Tax and
     2.1          Fee                                                    Last 4 digits of account number                                  $0.00              $0.00                 $0.00
                  Priority Creditor's Name
                  Administration                                         When was the debt incurred?
                  Account Information Group, MIC:
                  29
                  P.O. Box 942879
                  Sacramento, CA 94279-0029
                  Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                  Debtor 1 only                                             Unliquidated
                  Debtor 2 only                                             Disputed
                  Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

                  At least one of the debtors and another                   Domestic support obligations

                  Check if this claim is for a community debt               Taxes and certain other debts you owe the government

            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

                  No                                                        Other. Specify
                  Yes                                                                        Notice for possible and potential taxes owed




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 1 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              38146                                             Best Case Bankruptcy
Filed 11/15/19                                                                       Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                                Case number (if known)          19-14644-A-7

     2.2      Chief Counsel Region IX                                    Last 4 digits of account number                               $0.00           $0.00              $0.00
              Priority Creditor's Name
              Secretary of the Treasury                                  When was the debt incurred?
              1500 Pennsylvania Ave NW
              Washington, DC 20220
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.                                Contingent
               Debtor 1 only                                                Unliquidated
               Debtor 2 only                                                Disputed
               Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

               At least one of the debtors and another                      Domestic support obligations

               Check if this claim is for a community debt                  Taxes and certain other debts you owe the government

           Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

               No                                                           Other. Specify
               Yes                                                                           Notice for possible and potential taxes owed

              Department of Child Support
     2.3      Services                                                   Last 4 digits of account number                               $0.00           $0.00              $0.00
              Priority Creditor's Name
              P.O. Box 419064                                            When was the debt incurred?
              Rancho Cordova, CA 95741-9064
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.                                Contingent
               Debtor 1 only                                                Unliquidated
               Debtor 2 only                                                Disputed
               Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

               At least one of the debtors and another                      Domestic support obligations

               Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
           Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

               No                                                           Other. Specify
               Yes                                                                           Notice for possible and potential arrears owed for
                                                                                             past and/or present domestic support obligations

              Employment Development
     2.4      Department                                                 Last 4 digits of account number                               $0.00           $0.00              $0.00
              Priority Creditor's Name
              Bankruptcy Special Procedures                              When was the debt incurred?
              Group
              PO Box 826880 MIC 92E
              Sacramento, CA 94280-0001
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.                                Contingent
               Debtor 1 only                                                Unliquidated
               Debtor 2 only                                                Disputed
               Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

               At least one of the debtors and another                      Domestic support obligations

               Check if this claim is for a community debt                  Taxes and certain other debts you owe the government

           Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

               No                                                           Other. Specify
               Yes                                                                           Notice for possible and potential unemployment
                                                                                             taxes owed.




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 246
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Filed 11/15/19                                                                       Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                                Case number (if known)          19-14644-A-7

     2.5      Franchise Tax Board                                        Last 4 digits of account number                               $0.00           $0.00              $0.00
              Priority Creditor's Name
              Bankruptcy Section, MS: A-340                              When was the debt incurred?
              P.O. Box 2952
              Sacramento, CA 95812-2952
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.                                Contingent
               Debtor 1 only                                                Unliquidated
               Debtor 2 only                                                Disputed
               Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

               At least one of the debtors and another                      Domestic support obligations

               Check if this claim is for a community debt                  Taxes and certain other debts you owe the government

           Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

               No                                                           Other. Specify
               Yes                                                                           Notice for any possible and potential priority
                                                                                             taxes owed

     2.6      Internal Revenue Service                                   Last 4 digits of account number                               $0.00           $0.00              $0.00
              Priority Creditor's Name
              Centralized Insolvency                                     When was the debt incurred?
              Operations
              P.O. Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.                                Contingent
               Debtor 1 only                                                Unliquidated
               Debtor 2 only                                                Disputed
               Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

               At least one of the debtors and another                      Domestic support obligations

               Check if this claim is for a community debt                  Taxes and certain other debts you owe the government

           Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

               No                                                           Other. Specify
               Yes                                                                           Notice for any possible and potential priority
                                                                                             taxes owed

     2.7      Kings County Clerk/Recorder                                Last 4 digits of account number                               $0.00           $0.00              $0.00
              Priority Creditor's Name
              Kings County Government Center                             When was the debt incurred?
              1400 W. Lacy Boulevard
              Hanford, CA 93230
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.                                Contingent
               Debtor 1 only                                                Unliquidated
               Debtor 2 only                                                Disputed
               Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

               At least one of the debtors and another                      Domestic support obligations

               Check if this claim is for a community debt                  Taxes and certain other debts you owe the government

           Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

               No                                                           Other. Specify
               Yes                                                                           Notice purposes only




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 246
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Filed 11/15/19                                                                       Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                                Case number (if known)          19-14644-A-7

     2.8      Kings County Tax Collector                                 Last 4 digits of account number                               $0.00           $0.00              $0.00
              Priority Creditor's Name
              1400 W. Lacey Blvd.                                        When was the debt incurred?
              Hanford, CA 93230
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.                                Contingent
               Debtor 1 only                                                Unliquidated
               Debtor 2 only                                                Disputed
               Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

               At least one of the debtors and another                      Domestic support obligations

               Check if this claim is for a community debt                  Taxes and certain other debts you owe the government

           Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

               No                                                           Other. Specify
               Yes                                                                           Notice for possible and potential taxes owed.

     2.9      Secretary of State                                         Last 4 digits of account number                               $0.00           $0.00              $0.00
              Priority Creditor's Name
              1500 Pennsylvania Ave. NW                                  When was the debt incurred?
              Washington, DC 20220
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.                                Contingent
               Debtor 1 only                                                Unliquidated
               Debtor 2 only                                                Disputed
               Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

               At least one of the debtors and another                      Domestic support obligations

               Check if this claim is for a community debt                  Taxes and certain other debts you owe the government

           Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

               No                                                           Other. Specify
               Yes                                                                           Notice Purposes Only

     2.1
     0        United States Attorney                                     Last 4 digits of account number                               $0.00           $0.00              $0.00
              Priority Creditor's Name
              (For Internal Revenue Service)                             When was the debt incurred?
              2500 Tulare Street, Ste 4401
              Fresno, CA 93721
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.                                Contingent
               Debtor 1 only                                                Unliquidated
               Debtor 2 only                                                Disputed
               Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

               At least one of the debtors and another                      Domestic support obligations

               Check if this claim is for a community debt                  Taxes and certain other debts you owe the government

           Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

               No                                                           Other. Specify
               Yes                                                                           Notice for possible and potential taxes owed.




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 246
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Filed 11/15/19                                                                       Case 19-14644                                                                                          Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                                Case number (if known)            19-14644-A-7

     2.1        United States Department of
     1          Justice                                                  Last 4 digits of account number                               $0.00                  $0.00                  $0.00
                Priority Creditor's Name
                Civil Trial Section, Western                             When was the debt incurred?
                Region
                Box 683, Ben Franklin Station
                Washington, DC 20044
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                Debtor 1 only                                               Unliquidated
                Debtor 2 only                                               Disputed
                Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

                At least one of the debtors and another                     Domestic support obligations

                Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

                No                                                          Other. Specify
                Yes                                                                            Notice for possible and potential taxes owed


     Part 2:       List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

              No. You have nothing to report in this part. Submit this form to the court with your other schedules.

              Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim

     4.1        A E Welding inc.                                           Last 4 digits of account number                                                                          $0.00
                Nonpriority Creditor's Name
                1110 N Cain                                                When was the debt incurred?
                Visalia, CA 93292
                Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                     Debtor 1 only
                                                                               Contingent
                     Debtor 2 only
                                                                               Unliquidated
                     Debtor 1 and Debtor 2 only                                Disputed
                     At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                    Check if this claim is for a community                     Student loans
                debt                                                          Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                     No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                                 Notice of possible and potential debts
                     Yes                                                       Other. Specify    owed




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 5 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2      A&E Welding Inc.                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1110 N Cain                                                When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3      A&G Telephone Service Inc.                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2266 W Linda Vista Ave.                                    When was the debt incurred?
              Porterville, CA 93257
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4      A-Ped, Inc.                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1840 E Saginaw                                             When was the debt incurred?
              Fresno, CA 93726
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5      AAA Quality Services Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 535                                                 When was the debt incurred?
              Farmersville, CA 93223-0535
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6      Accounttemps                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 743295                                              When was the debt incurred?
              Los Angeles, CA 90074-3295
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7      ACH Captial as agent for                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Kings Cash Group                                           When was the debt incurred?
              11 Broadway, Suite 814
              New York, NY 10004
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 7 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.8      Act-1 Personnel Services                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1999 West 190th Str.                                       When was the debt incurred?
              Torrance, CA 90504
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.9      Administrative Solutions Inc.                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              555 West Shaw Ave., Suite C-1                              When was the debt incurred?
              Fresno, CA 93704
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     0        Advanced Emission Control                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Soulutions, LP                                             When was the debt incurred?
              PO Box 12907
              Fresno, CA 93779-2907
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 8 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     1        Aetna                                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 894938                                              When was the debt incurred?
              Los Angeles, CA 90189-4938
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     2        Aetna Inc.                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              c/o Aaron McCollough                                       When was the debt incurred?
              77 W Wacker Dr. #4100
              Chicago, IL 60601
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     3        Aflac                                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Remit Processing Services                                  When was the debt incurred?
              1932 Wynnton Road
              Columbus, GA 31993-0797
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 9 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     4        Aguirre Printing & Embroidery                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              9610 W Nicholas                                            When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     5        Air Mobile Communications, Inc.                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              360 N Cain Street                                          When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     6        Airgas Specialty Products                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 934434                                              When was the debt incurred?
              Atlanta, GA 31193-4434
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     7        Al's Distributing Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1530 Pearl Street                                          When was the debt incurred?
              Fresno, CA 93721
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     8        Alien Lawncare                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 4185                                                When was the debt incurred?
              Visalia, CA 93278
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     9        Alliance Petroluem Corp.                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1507                                                When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 11 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     0        Allied Affiliated Funding LP                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5151 Deltline Rd.                                          When was the debt incurred?
              Suite 500
              Dallas, TX 75254
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     1        Allied Communications                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Aircall of Calif., Inc.                                    When was the debt incurred?
              PO Box 100165
              Pasadena, CA 91189-0165
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     2        Allied Insurance                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 514540                                              When was the debt incurred?
              Los Angeles, CA 90051-4540
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 12 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     3        Ally Financial                                             Last 4 digits of account number       8310                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy Dept                                                                            Opened 04/12 Last Active
              Po Box 380901                                              When was the debt incurred?           11/08/14
              Bloomington, MN 55438
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                                                                                             owed
                                                                                             024919037566
                                                                                             024909918865
                                                                                             024908142507
                  Yes                                                       Other. Specify   085908400929

     4.2
     4        Alna Envelope Company, Inc                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1567 East 25th Street                                      When was the debt incurred?
              Los Angeles, CA 90011
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 13 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     5        ALS Distributing Inc.                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1530 Pearl Str.                                            When was the debt incurred?
              Fresno, CA 93721
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     6        Alternative Hose Inc.                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1251 Sunshine Way                                          When was the debt incurred?
              Anaheim, CA 92806
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     7        Amalie Oil Co.                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 99744                                               When was the debt incurred?
              Chicago, IL 60690-7544
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 14 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     8        American Arbriration Association                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              6795 N Palm Ave. 2nd Fl                                    When was the debt incurred?
              Fresno, CA 93704
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     9        American Business Machines                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2737                                                When was the debt incurred?
              Bakersfield, CA 93303
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     0        American Express                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 0001                                                When was the debt incurred?
              Los Angeles, CA 90096
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                                                                                             owed
                                                                                             031000
                                                                                             61003
                  Yes                                                       Other. Specify   91007


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 15 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     1        American Express Bank FSB                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              c/o Becket and Lee LLP                                     When was the debt incurred?
              PO Box 3001
              Malvern, PA 19355-0701
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     2        American Management Corp                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2020                                                When was the debt incurred?
              Conway, AR 72033-2020
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     3        American Tire Depot                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              14407 Alondra Blvd.                                        When was the debt incurred?
              La Mirada, CA 90638
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 16 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     4        American Truck Parts                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              19229 Avenue 152                                           When was the debt incurred?
              Porterville, CA 93257
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     5        American Welding & Tank Co.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 532872                                              When was the debt incurred?
              Atlanta, GA 30353-2872
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     6        Amerigas Propane                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 310                                                 When was the debt incurred?
              Fowler, CA 93625
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 17 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     7        Ameritas Life Insurance Co.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 81889                                               When was the debt incurred?
              Lincoln, NE 68501-1889
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     8        Amex                                                       Last 4 digits of account number       0783                                                   $0.00
              Nonpriority Creditor's Name
              Correspondence/Bankruptcy                                                                        Opened 5/06/14 Last Active
              Po Box 981540                                              When was the debt incurred?           3/13/19
              El Paso, TX 79998
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                                                                                             owed
                  Yes                                                       Other. Specify   3499923536293383

     4.3
     9        Amur Equipment Finance                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attn: Karla Beran, Peralegal                               When was the debt incurred?
              308 N Locust St., Ste. 100
              Grand Island, NE 68801
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 18 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     0        Amur Equipment Finance Inc.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 911685                                              When was the debt incurred?
              Denver, CO 80291-1685
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     1        Analysts, Inc                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2955                                                When was the debt incurred?
              Torrance, CA 90509-2955
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     2        Andre L Robindoux                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3716 Three Bars Street                                     When was the debt incurred?
              Bakersfield, CA 93314
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 19 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     3        Andreini and Company                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              220 W. 20th Ave                                            When was the debt incurred?
              San Mateo, CA 94403-1383
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     4        Andrew K Alper                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1000 Wilshire Blvd. 19th Floor                             When was the debt incurred?
              Los Angeles, CA 90017-2457
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     5        Angie Cornwell Ins. Agency Inc.                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 201004                                              When was the debt incurred?
              Stockton, CA 95201
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 20 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     6        Anja Inc.                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              913 W Center St.                                           When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     7        Anthem Blue Cross                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 51001                                               When was the debt incurred?
              Los Angeles, CA 90051
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     8        Anthem Blue Cross Life &                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Health Insurance Company, Inc.                             When was the debt incurred?
              PO Box 92420
              Cleveland, OH 44193
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 21 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     9        Apex Oil Company, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 71708                                               When was the debt incurred?
              Chicago, IL 60694-1708
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     0        ARB/Cargo Tank                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1001 "I" Street                                            When was the debt incurred?
              PO Box 1955
              Sacramento, CA 95814-1955
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     1        Arco Products Company                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              333 S Hope Street                                          When was the debt incurred?
              Los Angeles, CA 90071
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 22 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     2        Arrival Communications                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept. LA 22286                                             When was the debt incurred?
              Pasadena, CA 91185-2286
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     3        ARS National Service Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 469046                                              When was the debt incurred?
              Escondido, CA 92046
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     4        Ascentium Capital LLC                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept. LA 22286                                             When was the debt incurred?
              Pasadena, CA 91185-2286
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 23 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     5        Ascentium Capital LLC                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              23970 HWY 59N                                              When was the debt incurred?
              Kingwood, TX 77339
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     6        ASI Administrative Soultions                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 5890                                                When was the debt incurred?
              Fresno, CA 93755
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     7        Assets Apraisals                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1120                                                When was the debt incurred?
              Dallas, TX 75267-2032
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 24 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     8        Associates Commercial Corp.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 672032                                              When was the debt incurred?
              Dallas, TX 75267-2032
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     9        AT&T Corp                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 5025                                                When was the debt incurred?
              Carol Stream, IL 60197-5025
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     0        AT&T Corp                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              % AT&T Services, Inc.                                      When was the debt incurred?
              Karen A Cavagnaro
              One AT&T Way, Room 3A104
              Bedminster, NJ 07921
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 25 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     1        AT&T Wireless Services-Fresno                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 78110                                               When was the debt incurred?
              Phoenix, AZ 85062-8110
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     2        Austin P Nagel                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              111 Deerwood Rd. 305                                       When was the debt incurred?
              San Ramon, CA 94583-1530
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     3        Auto Club                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              ACSC                                                       When was the debt incurred?
              PO Box 25406
              Santa Ana, CA 92799-5406
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 26 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     4        Auto Stiegler Collision Center                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              6700 Reseda Blvd.                                          When was the debt incurred?
              Reseda, CA 91335
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     5        Autoglass Central                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              832 N Ben Maddox                                           When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     6        Avran Industrial, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 7000                                                When was the debt incurred?
              Visalia, CA 93290
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 27 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     7        Axis Capital Inc.                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              308 N Locust Street Suite 100                              When was the debt incurred?
              Grand Island, NE 68801
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     8        B&L Farms                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              16000 Grangeville                                          When was the debt incurred?
              Hanford, CA 93230
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     9        Bacon Law Group                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Thomas Bacon                                               When was the debt incurred?
              1601 N Sepulveda #349
              Manhattan Beach, CA 90266
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 28 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.7
     0        Bagby Gage Stick, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 70                                                  When was the debt incurred?
              Pinson, AL 35126
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     1        Bakersfield Pipe & Supply Inc.                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept 9932                                                  When was the debt incurred?
              Los Angeles, CA 90084-9932
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     2        Bakersfield Truck Center                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 80057                                               When was the debt incurred?
              Bakersfield, CA 93380
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 29 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.7
     3        Baldwin Heating & Cooling                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              702 N Ben Maddox Way                                       When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     4        Balersfield Truck Center                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 80057                                               When was the debt incurred?
              Bakersfield, CA 93380
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     5        Bamford Dairy                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3212 Ave 352                                               When was the debt incurred?
              Traver, CA 93673
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 30 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.7
     6        Bank of America                                            Last 4 digits of account number       5448                                           $16,894.00
              Nonpriority Creditor's Name
              4909 Savarese Circle                                                                             Opened 12/99 Last Active
              Fl1-908-01-50                                              When was the debt incurred?           4/09/18
              Tampa, FL 33634
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Credit card purchases
                  Yes                                                       Other. Specify   4400665695572303

     4.7
     7        Bank of Sierra                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              128 W Main Street                                          When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     8        Bank of the Sierra                                         Last 4 digits of account number       5437                                                   $0.00
              Nonpriority Creditor's Name
              PO Box 790408                                              When was the debt incurred?
              Saint Louis, MO 63179-0408
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 31 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.7
     9        Bank of the Wesat                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2527 Camino Roman, NC-B07-3-F-v                            When was the debt incurred?
              San Ramon, CA 94583
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.8
     0        Bank of the West                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 515274                                              When was the debt incurred?
              Los Angeles, CA 90051
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.8
     1        Bank One                                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Cardmember Service                                         When was the debt incurred?
              PO Box 94014
              Palatine, IL 60094-4014
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 32 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.8
     2        Bankcard Center                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Bank of the West                                           When was the debt incurred?
              PO Box 84043
              Columbus, GA 31908-4043
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.8
     3        Banks & Co Petro Equipment., Inc.                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 6543                                                When was the debt incurred?
              Fresno, CA 93703
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.8
     4        Barclays Bank Delaware                                     Last 4 digits of account number       9478                                           $16,670.00
              Nonpriority Creditor's Name
              Attn: Correspondence                                                                             Opened 11/16 Last Active
              Po Box 8801                                                When was the debt incurred?           3/13/18
              Wilmington, DE 19899
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 33 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.8
     5        Basaic Industries                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 255                                                 When was the debt incurred?
              Pixley, CA 93256
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.8
     6        Battery Systems Inc.                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              12322 Monarch Street                                       When was the debt incurred?
              Garden Grove, CA 92841-2909
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.8
     7        Battery Systems Inc.                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              12322 Monarch St.                                          When was the debt incurred?
              Garden Grove, CA 92841
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 34 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.8
     8        Bayshore Truck Equipment Co.                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Truck Parts-PTO Sales                                      When was the debt incurred?
              28121 Network Place
              Chicago, IL 60673-1281
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.8
     9        Beal Corporation                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 4687                                                When was the debt incurred?
              Portland, OR 97208
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.9
     0        Beall Financial West, Inc.                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 17095                                               When was the debt incurred?
              Portland, OR 97217-0095
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 35 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.9
     1        Belden Blaine Raytis LLP                                   Last 4 digits of account number       1086                                                   $0.00
              Nonpriority Creditor's Name
              5016 California Ave., Suite 3                              When was the debt incurred?
              Bakersfield, CA 93309
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.9
     2        Ben-E-Lect                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box7809                                                 When was the debt incurred?
              Visalia, CA 93290
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.9
     3        Benjamin T Morton                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              101 W Broadway 1600                                        When was the debt incurred?
              San Diego, CA 92101-8217
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 36 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.9
     4        Betts Truck Parts and Services                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Betts Springs Company                                      When was the debt incurred?
              File 50413
              Los Angeles, CA 90074-0413
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.9
     5        Big West of Cal-Flying 3                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2436 Fruitvale Ave.                                        When was the debt incurred?
              Bakersfield, CA 93308
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.9
     6        Blue Sheild of California                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 51827                                               When was the debt incurred?
              Los Angeles, CA 90051-6127
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 37 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.9
     7        Blue Shield of California                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 51827                                               When was the debt incurred?
              Los Angeles, CA 90051-6127
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.9
     8        BMO Harris Bank                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              300 E John Carpenter FWY                                   When was the debt incurred?
              Irving, TX 75062
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.9
     9        BMO Harris Bank N.A.                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1010 Thomas Edison Blvd. SW                                When was the debt incurred?
              Cedar Rapids, IA 52404
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 38 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     00       BMO Harris Bank NA                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 71951                                               When was the debt incurred?
              Chicago, IL 60694
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     01       Board of Equilization                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Cashier Unit MTC:13                                        When was the debt incurred?
              PO Box 71951
              Chicago, IL 60694-1951
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     02       Bob Moore                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2404 S Beech Dr                                            When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 39 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     03       BP West Coast Prod. AG                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              333 S Hope Street                                          When was the debt incurred?
              19th Floor
              Los Angeles, CA 90007-1000
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     04       Bro Barte LLC                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              205 N Ben MAddox Way                                       When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     05       Brown Armstrong                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4200 Truxtun Ave. Ste 300                                  When was the debt incurred?
              Bakersfield, CA 93309
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 40 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     06       BSE Rents                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              6319 District Blvd.                                        When was the debt incurred?
              Bakersfield, CA 93313-2143
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     07       Buford Oil Co                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 104                                                 When was the debt incurred?
              Hanford, CA 93232-2000
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     08       Butane-Propance News                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Weekly Propane Newsletter                                  When was the debt incurred?
              PO Box 660698
              Arcadia, CA 91066-0698
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 41 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     09       California Business Machines                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4260 N Fresno St.                                          When was the debt incurred?
              Fresno, CA 93726-3115
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     10       California Cartridge Company                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              211 S Duworth                                              When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     11       California Dept. of Tax & Fee                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Administraive                                              When was the debt incurred?
              Special Ops MIC:55
              PO Box 942879
              Sacramento, CA 94279-0055
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 42 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     12       California HWY Patrol Bit Program                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Fiscal Management Section                                  When was the debt incurred?
              PO Box 942902
              Sacramento, CA 94298
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     13       California Industrial Rubber                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2456                                                When was the debt incurred?
              Fresno, CA 93745-2456
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     14       California Water Service Co.                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 940001                                              When was the debt incurred?
              San Jose, CA 95194-0001
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 43 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     15       Calitornia Attorney General                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 944255                                              When was the debt incurred?
              Sacramento, CA 94298
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     16       Cam2 Inernational LLC                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 863                                                 When was the debt incurred?
              Jackson, MS 39205-0863
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     17       Cambria Products Corporation                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2054                                                When was the debt incurred?
              Atascadero, CA 93423
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 44 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     18       Canon Financial Services Inc.                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Howard N. Sobel PA                                         When was the debt incurred?
              507 Kresson Rd.
              Voorhees, NJ 08043
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     19       Canon Financial Services Inc.                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              14904 Collections Ctr Dr.                                  When was the debt incurred?
              Chicago, IL 60693-0149
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     20       Canon Financial Services, Inc.                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              14904 Collections Ctr. Dr.                                 When was the debt incurred?
              Chicago, IL 60693-0149
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 45 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     21       Capcall LLC                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              122 E 42nd Streeet. Suite 2112                             When was the debt incurred?
              New York, NY 10168
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     22       Capital Drum, Inc.                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              749 Galleria Blvd.                                         When was the debt incurred?
              Roseville, CA 95678
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     23       Capital One                                                Last 4 digits of account number       6867                                             $6,065.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                                                                 Opened 12/18 Last Active
              Po Box 30285                                               When was the debt incurred?           09/19
              Salt Lake City, UT 84130
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Credit card purchases
                                                                                             479124709590
                  Yes                                                       Other. Specify   8692



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 46 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     24       Capital One                                                Last 4 digits of account number       8692                                             $6,065.00
              Nonpriority Creditor's Name
              PO Box 30285                                               When was the debt incurred?
              Salt Lake City, UT 84130-0285
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases


     4.1
     25       Cardmember Service                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 790408                                              When was the debt incurred?
              Saint Louis, MO 63179-0408
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     26       Carroll's Tire Warehouae                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1143 E Main Street                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 47 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     27       Castellucci Trust                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5740 Kana Dume Road                                        When was the debt incurred?
              Malibu, CA 90265
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     28       Castle Energy, Inc.                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5740 Kanan Dum Rd.                                         When was the debt incurred?
              Malibu, CA 90265
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     29       Castle Energy, Inc.                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              205 N Ben Maddox                                           When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 48 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     30       Cellco Partnership d/b/a/ Verizon                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Wireless, on behalf of its affiliates                      When was the debt incurred?
              and William Vermette
              22001 Loundoun County Pkwy
              Ashburn, VA 20147
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     31       Cen Cal Distributing Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1230 N Santa Fe. Street                                    When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     32       Central California LP                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              10042 Yukon River Dr.                                      When was the debt incurred?
              Rancho Cordova, CA 95670
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 49 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     33       Central Valley Business Forms                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7500 W Sunnyview Ave.                                      When was the debt incurred?
              PO Box 3850
              Visalia, CA 93278
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     34       Central Valley Business Forms                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7500 W Sunny Ave.                                          When was the debt incurred?
              PO Box 3850
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.1
     35       Central Valley Sweeping, LLC                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 6787                                                When was the debt incurred?
              Visalia, CA 93290
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 50 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1      Central Valley Towing and
     36       Automotive                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1731                                                When was the debt incurred?
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     37       Central Valley Truck Center                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
                                                                         When was the debt incurred?
              2707 South East Avenue
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.1
     38       Charles D Testerman                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              50976 Greenhill Rd.                                        When was the debt incurred?
              Squaw Valley, CA 93675
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 51 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     39       Charles L Wilcox DDS                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1140 N Chinowth Ave.                                       When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     40       Charlie's Custom Gardening                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5310 W Cherry Ave.                                         When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     41       Chase                                                      Last 4 digits of account number       5400                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                                                                 Opened 01/09 Last Active
              Po Box 901076                                              When was the debt incurred?           1/24/14
              Fort Worth, TX 76101
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 52 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     42       Chase                                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO box 1608                                                When was the debt incurred?
              Southgate, MI 48195
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     43       Chase Card Services                                        Last 4 digits of account number       3142                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                           When was the debt incurred?           Opened 11/17
              Po Box 15298
              Wilmington, DE 19850
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                                                                                             owed
                                                                                             421156610540
                                                                                             426684127728
                  Yes                                                       Other. Specify   441712115016




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 53 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     44       Chem Vista Products LLC                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5025 Hartford Street                                       When was the debt incurred?
              Tampa, FL 33619
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     45       Christenson Law Firm LLP                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Vonn R. Christenson, Esq                                   When was the debt incurred?
              Porterville, CA 93257
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     46       Cintas Corporation #621                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 29059                                               When was the debt incurred?
              Porterville, CA 93257
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 54 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     47       Cioma                                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3831 No Freeway Blvd.                                      When was the debt incurred?
              Suite 130
              Sacramento, CA 95834-1933
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     48       Citgo Petroleum Corporation                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attn: Karen Duty                                           When was the debt incurred?
              PO Box 4969
              Houston, TX 77210-4969
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 55 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     49       Citibank                                                   Last 4 digits of account number       8323                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Recovery/Centralized                                 When was the debt incurred?           Opened 11/17
              Bankruptcy
              Po Box 790034
              St Louis, MO 63179
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     50       CitiBank USA                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 8034                                                When was the debt incurred?
              South Hackensack, NJ 07606-8034
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     51       CitiCorp Del Lease Inc                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 7247 - 7778                                         When was the debt incurred?
              Philadelphia, PA 19170
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 56 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     52       City of Farmersville                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              909 West Visalia Rd.                                       When was the debt incurred?
              Farmersville, CA 93223
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     53       City of Fresno                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 45017                                               When was the debt incurred?
              Fresno, CA 93718-5017
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     54       City of Porterville                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              291 N Main Street                                          When was the debt incurred?
              Porterville, CA 93257
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 57 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     55       City of Tulare                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Finance Department                                         When was the debt incurred?
              411 East Kern Ave.
              Tulare, CA 93274
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     56       City of Visalia                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 4002                                                When was the debt incurred?
              Visalia, CA 93278-4002
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     57       City of Visalia                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 51159                                               When was the debt incurred?
              Los Angeles, CA 90051
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 58 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     58       Cliff Web ATTY Services                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              6722 W Damsen Ave.                                         When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     59       Clovis Polycon Inc                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              915 Hoblitt Ave.                                           When was the debt incurred?
              Clovis, CA 93612
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     60       CMA Business Service                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Collection Division                                        When was the debt incurred?
              PO Box 7740
              Marcus, WA 99151-0774
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 59 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     61       Coast Appliance Parts Co.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              A Don Erickson, Inc. Co.                                   When was the debt incurred?
              10680 Mulberry Ave
              Fontana, CA 92337
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     62       Cobra Services                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              National Services Center                                   When was the debt incurred?
              PO Box 534099
              Saint Petersburg, FL 33747-4099
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     63       Coloniel Life                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Premium Processing                                         When was the debt incurred?
              PO Box 534099
              Saint Petersburg, FL 33747-4099
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 60 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     64       Comcast                                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 34744                                               When was the debt incurred?
              Seattle, WA 98124-1744
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     65       Comcast                                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 34744                                               When was the debt incurred?
              Seattle, WA 98124-1744
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     66       Comdata Nertwork, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Trendar Merchant Services                                  When was the debt incurred?
              PO Box 3389
              Brentwood, TN 37024
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 61 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     67       Comenity Bank/Avenue                                       Last 4 digits of account number       6780                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                                                                 Opened 08/10 Last Active
              Po Box 182125                                              When was the debt incurred?           6/05/11
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     68       Comenity Bank/kingsize                                     Last 4 digits of account number       2278                                                   $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 01/18 Last Active
              Po Box 182789                                              When was the debt incurred?           01/18
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     69       Comenity Bank/Lane Bryant                                  Last 4 digits of account number       9721                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                                                                 Opened 05/11 Last Active
              Po Box 182125                                              When was the debt incurred?           11/07/13
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 62 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     70       Comenitybank/coldwcmc                                      Last 4 digits of account number       3740                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy Dept                                                                            Opened 11/11 Last Active
              Po Box 182125                                              When was the debt incurred?           03/18
              Columbus, OH 45318
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     71       Comerica Leasing Corp                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
                                                                         When was the debt incurred?
              29201
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify



     4.1      Commodity Futures Trading
     72       Commission                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Three Lafayette Ctr                                        When was the debt incurred?
              1155 21st St NW
              Washington, DC 20581
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 63 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     73       Companion Property & Casualty                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Freestone Payments                                         When was the debt incurred?
              PO Box 100239
              Columbia, SC 29202-3239
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     74       Conoco-Phillips Co                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 52085                                               When was the debt incurred?
              Phoenix, AZ 85072-2085
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     75       Conseco Life Insurance Co.                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 371807                                              When was the debt incurred?
              Pittsburgh, PA 15250-7807
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 64 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     76       Conslidated Resources, Inc.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              c/o Vonn R Christenson                                     When was the debt incurred?
              472 W Putnam Ave.
              Porterville, CA 93257
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     77       Container Management Service                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept. #1023-03                                             When was the debt incurred?
              PO Box 61000
              San Francisco, CA 94161
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     78       Coreagri, LLC                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1027                                                When was the debt incurred?
              Arroyo Grande, CA 93421
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 65 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     79       Corporation Services Company                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              as Representative                                          When was the debt incurred?
              PO Box 2576
              Arroyo Grande, CA 93421
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     80       Costco Membership                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 34783                                               When was the debt incurred?
              Seattle, WA 98124-1783
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     81       Coveral North America, Inc.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2955 Momentum Place                                        When was the debt incurred?
              Chicago, IL 60689-5329
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 66 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     82       Coverall North America INc.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              350 SW 12th Ave                                            When was the debt incurred?
              Deerfield Beach, FL 33442
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     83       Cox Petroleum Transport                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7641 Edison Way                                            When was the debt incurred?
              Bakersfield, CA 93307
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     84       Cranes Waste Oil, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              15412 HWY 178                                              When was the debt incurred?
              Weldon, CA 93283
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 67 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     85       CRC marketing, inc.                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              NGL Marketing Accounting                                   When was the debt incurred?
              PO Box 745785
              Los Angeles, CA 90074
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     86       Creative Financial                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Staffing LLC                                               When was the debt incurred?
              PO Box 95111
              Chicago, IL 60694
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     87       Crestwood Services LLP                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2 Brush Creek Blvd.                                        When was the debt incurred?
              Dallas, TX 75395-1216
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 68 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     88       Crestwood West Coast LLC                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 951216                                              When was the debt incurred?
              Dallas, TX 75395-1216
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases


     4.1
     89       Crismson Renwable Energy, LP                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              950 17th St. Suite 2650                                    When was the debt incurred?
              Denver, CO 80202
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     90       Cruz Services Center                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 298                                                 When was the debt incurred?
              Farmersville, CA 93223
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 69 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     91       Cummins Pacific LLC                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 848731                                              When was the debt incurred?
              Los Angeles, CA 90084-8731
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     92       Curry Copy                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1117 South Mooney Blvd.                                    When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     93       Dale Motley                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Ogden & Motley                                             When was the debt incurred?
              1900 Ave. of the Stars
              Los Angeles, CA 90067
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 70 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     94       Dan's A/C & Heating                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1311 W Howard Ave.                                         When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     95       Darrel's Mini Storage, Inc.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              800 Ben Maddox Way                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     96       Dasco Inc. Inc.                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              9785 Maroon Circle Suite 110                               When was the debt incurred?
              Englewood, CO 80112
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 71 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.1
     97       Dave's Heating & Air                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              685 Ave. 296                                               When was the debt incurred?
              Farmersville, CA 93223
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     98       David M Riley                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1251 Avenue of the Americas Fl 49                          When was the debt incurred?
              New York, NY 10020-1100
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.1
     99       Davidson Enterprises Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3223 Brittan Street                                        When was the debt incurred?
              Bakersfield, CA 93308
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 72 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     00       Dean Industrial Enterprises                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2525 South East Ave.                                       When was the debt incurred?
              Fresno, CA 93706
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     01       Dean Writter                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              505 W Main Str.                                            When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     02       Delray Tire & Ret/Fresno                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2544 S Cherry Ave                                          When was the debt incurred?
              Fresno, CA 93706
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 73 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     03       Delta Supply and Equipment                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1730 E Main Street                                         When was the debt incurred?
              Bakersfield, CA 93384
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     04       Depart of the Treasury                                     Last 4 digits of account number       5819                                           $12,766.00
              Nonpriority Creditor's Name
              Interal Revenue Service                                    When was the debt incurred?
              ACS Support- Stop 813G
              PO Box 145566
              Cincinnati, OH 45250
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             taxes owed for the year
                  Yes                                                       Other. Specify   2013

     4.2
     05       Department of Industrial Relations                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Cashier Accounting (PV)                                    When was the debt incurred?
              PO Box 420603
              San Francisco, CA 94142-0603
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 74 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     06       Department of Motor Vehicles                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Motor Carrier MS:G875                                      When was the debt incurred?
              PO Box 932370
              Sacramento, CA 94297
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     07       Department of Motor Vehicles                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 942897                                              When was the debt incurred?
              Sacramento, CA 94297
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.2      Department of the Treasury of
     08       Service                                                    Last 4 digits of account number                                                      $22,279.00
              Nonpriority Creditor's Name
              ACS Support- Stop 813G                                     When was the debt incurred?
              PO Box 145566
              Cincinnati, OH 45250-5566
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             taxes owed for the year of
                  Yes                                                       Other. Specify   2015


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 75 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     09       Dept of Motor Vehicles                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 8253339                                             When was the debt incurred?
              Sacramento, CA 94232-5339
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.2      Deptartment Store National
     10       Bank/Macy's                                                Last 4 digits of account number       9100                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                                                                 Opened 1/11/13 Last Active
              9111 Duke Boulevard                                        When was the debt incurred?           10/06/13
              Mason, OH 45040
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     11       DFAS-DGG-CL                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Garnishment Operations                                     When was the debt incurred?
              PO Box 998002
              Cleveland, OH 44199-8002
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 76 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     12       Discover Financial                                         Last 4 digits of account number       0243                                           $10,211.00
              Nonpriority Creditor's Name
                                                                                                               Opened 11/17 Last Active
              Pob 15316                                                  When was the debt incurred?           5/01/18
              Wilmington, DE 19850
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases


     4.2
     13       Dix Machine Shop, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1639 S Roeben Rd.                                          When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     14       Don Rose Oil Company                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              205 N Ben Maddox Way                                       When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                                                                                             owed
                  Yes                                                       Other. Specify   Don Rose Profit Sharing




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 77 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2      Dooley, Herr, Peltzer & Richardson,
     15       LLP                                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              100 Willow Plaza Ste 300                                   When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     16       Dortha Bensaon                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              31932 Rd 60                                                When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     17       Douglass Screen Printing                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2710 New Tampa HWY                                         When was the debt incurred?
              Lakeland, FL 33815-3463
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 78 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     18       Downey Brand, LLP                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Jaime P Dreher, Esq                                        When was the debt incurred?
              621 Capitol Mall. 18th Floor
              Lakeland, FL 33815
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     19       DTN Corp.                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attn Dtnergy                                               When was the debt incurred?
              9110 W Dodge-Suite 200
              Omaha, NE 68114-3316
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     20       Duane Morris-Suite 200                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              30 S. 17th Street                                          When was the debt incurred?
              Philadelphia, PA 19103
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 79 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     21       Dunn's Sand Inc                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              DBA Dunn's Inc.                                            When was the debt incurred?
              33 N Ben Maddox Way
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     22       Eagle Energy Inc.                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO box 825                                                 When was the debt incurred?
              Santa Margarita, CA 93453
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     23       East Bay Tire Co                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2200 Hunington Dr. Unit C                                  When was the debt incurred?
              Fairfield, CA 94533
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 80 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     24       Echosat                                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              250 W main Street                                          When was the debt incurred?
              Suite 3100
              Lexington, KY 40507-1700
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     25       EFS, LLC                                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 151068                                              When was the debt incurred?
              Ogden, UT 84415
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     26       El Monte Gas                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 57                                                  When was the debt incurred?
              Sultana, CA 93666
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 81 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     27       Empire Funding                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Jason Gang, Esq.                                           When was the debt incurred?
              1245 Hewlett Plaza #478
              Hewlett, NY 11557
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     28       Empire Supply Co, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              616 E Race Ave.                                            When was the debt incurred?
              Visalia, CA 93292-3838
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 82 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2      Employment Development
     29       Department                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Bankruptcy Special Procedures                              When was the debt incurred?
              Group
              PO BOX 826880 MIC 92E
              Sacramento, CA 94280
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for any possible and potential
                                                                                             unemployment compensation
                  Yes                                                       Other. Specify   overpayments owed

     4.2
     30       Enterprise Products Operation                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 972866                                              When was the debt incurred?
              Dallas, TX 75397-2866
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 83 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     31       Enterprise Rent A Car                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attn Accts Receivables                                     When was the debt incurred?
              2222 S Dobson Rd Ste 502
              Mesa, AZ 85202-6481
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     32       Enterprise Transportation Co                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 972863                                              When was the debt incurred?
              Dallas, TX 75397-2863
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.2      Equifax Credit Information
     33       Services, Inc                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 740256                                              When was the debt incurred?
              Atlanta, GA 30374
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Notice purposes only




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 84 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     34       Ernest Packaging Solutions                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2825 S Elm Ave. #103                                       When was the debt incurred?
              Fresno, CA 93706-5460
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     35       Ethos Geological, inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7 Annette Park Drive                                       When was the debt incurred?
              Bozeman, MT 59715
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.2      Euler Hermes North American
     36       Insurance                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              800 Red Brook Blvd.                                        When was the debt incurred?
              Owings Mills, MD 21117-1008
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 85 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     37       Experian                                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 9554                                                When was the debt incurred?
              Allen, TX 75013
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Notice purposes only.


     4.2
     38       Falcon Fuels                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 347                                                 When was the debt incurred?
              Paramount, CA 90723
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     39       Fastenal Company                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1266                                                When was the debt incurred?
              Winona, MN 55987-1286
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 86 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     40       Faunus Group International Inc.                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              80 Broad Street 22nd Floor                                 When was the debt incurred?
              New York, NY 10004
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     41       FC&A                                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2062                                                When was the debt incurred?
              Peachtree City, GA 30269-0062
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     42       Federal Express Corp                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 7221                                                When was the debt incurred?
              Pasadena, CA 91109-7321
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 87 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     43       Finance Scholars Group                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2 Theatre Square Ste 234                                   When was the debt incurred?
              Orinda, CA 94563
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     44       Firestream Worldwide                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              18336 Edison Ave.                                          When was the debt incurred?
              Chesterfield, MO 63005-3618
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     45       First Capital                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5320 NW 58th St                                            When was the debt incurred?
              Oklahoma City, OK 73112-1000
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 88 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     46       First National Capital LLC                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1029 HWY 6 North Ste. 650-283                              When was the debt incurred?
              Houston, TX 77079
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     47       First USA                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 50882                                               When was the debt incurred?
              Henderson, NV 89016-0408
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     48       Fleet Card Fuels, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 81685                                               When was the debt incurred?
              Bakersfield, CA 93380-1685
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 89 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     49       FleetPride                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 847118                                              When was the debt incurred?
              Dallas, TX 75284-7118
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     50       Flint Hills Resources LP                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              FHR Investments, LP                                        When was the debt incurred?
              4111 E. 37th Street North
              Wichita, KS 67220
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     51       Fluid Hills Resourses, LP                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              FHR Investments, LP                                        When was the debt incurred?
              4111 E 37th Street North
              Wichita, KS 67220
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 90 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2      Fluid Lubrication & Chemical
     52       Company                                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1939 S Van Ness Ave.                                       When was the debt incurred?
              Fresno, CA 93721
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases


     4.2
     53       Flyers Energy LLP                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2360 Lindergh Stre.                                        When was the debt incurred?
              Auburn, CA 95602
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     54       Ford Credit                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 552678                                              When was the debt incurred?
              Detroit, MI 48255
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 91 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     55       Ford Motor Creddit Company LLC                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 62180                                               When was the debt incurred?
              Colorado Springs, CO 80962
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     56       Forstmark Swervices                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2977                                                When was the debt incurred?
              Omaha, NE 68103-2977
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     57       FPPF Chemical Co., Inc.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              117 West Tupper Street                                     When was the debt incurred?
              Buffalo, NY 14201
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 92 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     58       Franchise Tax Board                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Bankruptcy Section, MS: A-340                              When was the debt incurred?
              P.O. Box 2952
              Sacramento, CA 95812-2952
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential
                  Yes                                                       Other. Specify   non-priority taxes owed

     4.2
     59       Franchise Tax Board                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Withholding Services                                       When was the debt incurred?
              Compliance MS F182
              PO Box 942867
              Sacramento, CA 94267-0651
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Notice of possible and potential taxes owed


     4.2
     60       Frank Benson Accounting Corp                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              718 W Center Suite A                                       When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 93 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     61       Franzen-Hill Corp                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1100 North J Street                                        When was the debt incurred?
              Tulare, CA 93274
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     62       Fresno Mobile Radio Inc.                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              160 N Broadway Street                                      When was the debt incurred?
              Fresno, CA 93701-1592
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     63       Fresno Oxygen                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1666                                                When was the debt incurred?
              Fresno, CA 93717
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 94 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     64       Fresno T-T Welding                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2093 E North Ave.                                          When was the debt incurred?
              Fresno, CA 93725
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     65       Fresno Tank Repair Inc.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1783                                                When was the debt incurred?
              2695 So. Fourth Street
              Fresno, CA 93717
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     66       Fresno Truck Center                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 398430                                              When was the debt incurred?
              San Francisco, CA 94139-8430
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 95 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     67       G& H Diesel Service                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3304 E Malaga Ave.                                         When was the debt incurred?
              Fresno, CA 93725
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     68       Gary A Goldstein                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1710 Lands Ends Road                                       When was the debt incurred?
              Lake Worth, FL 33462
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     69       Gault Group LLC                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              21715 N 92nd Ave.                                          When was the debt incurred?
              Peoria, AZ 85382
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 96 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     70       General Graphic Systems, Inc                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              110 East Turner Ave                                        When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     71       George McCann School                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              200 E Race Ave.                                            When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     72       Gettler-Ryan Inc.                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              6747 Sierra Court Suite J                                  When was the debt incurred?
              Dublin, CA 94568-2611
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 97 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     73       GHX Industrial LLC                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept 207                                                   When was the debt incurred?
              PO Box 4346
              Houston, TX 77210
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     74       Giant Automotive Group                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1001 S Ben Maddox Way                                      When was the debt incurred?
              PO Box 2576
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     75       Giant Automotive Group                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1001 S Ben Maddox Way                                      When was the debt incurred?
              PO Box 2576
              Visalia, CA 93279-2576
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 98 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     76       Gibbs IdealLease                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box748062                                               When was the debt incurred?
              Los Angeles, CA 90074
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     77       Gibbs International Inc                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 748062                                              When was the debt incurred?
              Los Angeles, CA 90074
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     78       Gifford's Market, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              35637 HWY 190                                              When was the debt incurred?
              Springville, CA 93265
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 99 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     79       Gifford's Market Inc.                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attn: Al Hirani                                            When was the debt incurred?
              35637 Highway 90
              Springville, CA 93265
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     80       Glen Batdorf                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2326 E. School St.                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     81       Glenn Burdette                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1150 Palm Street                                           When was the debt incurred?
              Charlotte, NC 28290-5713
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 100 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     82       Global Equipment Company                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO BOX 905713                                              When was the debt incurred?
              Charlotte, NC 28290-5713
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     83       Globe Distributors                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              559 #4 Campbell Tech PKWY                                  When was the debt incurred?
              Campbell, CA 95008
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     84       Golden State Distriibutors                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1720 22nd Street                                           When was the debt incurred?
              Santa Monica, CA 90404
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 101 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     85       Goodyear Commercial Tires                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7041 Ave. 304                                              When was the debt incurred?
              Visalia, CA 93291-9479
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     86       Goodyear- Goodguys Tire Center                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2478 S Goldenstate Blvd.                                   When was the debt incurred?
              Fresno, CA 93706
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     87       Grant's A/C & Heating Inc.                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              750 E Race                                                 When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 102 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     88       Graphic Technology, Inc. GTI                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 410211                                              When was the debt incurred?
              Kansas City, MO 64141
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     89       Graylift                                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2808                                                When was the debt incurred?
              Fresno, CA 93745
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     90       Greg's Petroleum Service                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box2808                                                 When was the debt incurred?
              Fresno, CA 93745
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 103 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     91       Grissom-Wallace Comm Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1074 E Walnut Ave                                          When was the debt incurred?
              Tulare, CA 93274
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     92       Gross & Stevens                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              11221 E Acequia Ave.                                       When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     93       Gubler, Koch, Degn & Gomez LLP                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attorneys at Law                                           When was the debt incurred?
              1110 N Chinowth Street
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 104 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     94       Hall Distributting Co.,Inc.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2645 S. Cherry Ave                                         When was the debt incurred?
              Fresno, CA 93706
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.2
     95       Hamilton Ranches, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              31881 Rd. 160                                              When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     96       Hank Vanheeringen                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              33801 Road 124                                             When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 105 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.2
     97       Hankook Tire America Corp.                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 403172                                              When was the debt incurred?
              Atlanta, GA 30384-3172
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.2
     98       Happy Rock Merchant Solutions                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              149 West 36th Street 12th Floor                            When was the debt incurred?
              New York, NY 10018
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.2      Happy Rock Merchant Solutions
     99       LLC                                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              c/o Hagop T Bedoyan                                        When was the debt incurred?
              526 N Palm Ave., 201
              Fresno, CA 93704
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 106 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     00       Happy Trails Riding Academy                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 572                                                 When was the debt incurred?
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     01       Harbor Freight Tools                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1835 S Mooney Blvd.                                        When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     02       Harris Exploration Drilling                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
                                                                         When was the debt incurred?
              PO Box 81805
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 107 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     03       Health & Human Services Agency                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Publlic Social Services-Billing                            When was the debt incurred?
              5957 South Mooney Blvd.
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     04       Hellenic Petroleum, LLC                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              9858 Glades Road Suite 219                                 When was the debt incurred?
              Boca Raton, FL 33434
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                                                                                             owed
                                                                                             Capital Trade Finsnce LLC
                                                                                             Kodiak Mining & Minerals
                                                                                             XO Trading Inc.
                  Yes                                                       Other. Specify   Consolidated Resources Inc.




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 108 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     05       Hemar, Rousso & Heald LLP                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              15910 Ventura Blvd., 12th Floor                            When was the debt incurred?
              Encino, CA 91436
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     06       Hilco Valuation Services LLC                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Att: Jason Frank                                           When was the debt incurred?
              5 Revere Drive
              Northbrook, IL 60062-1566
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     07       Hilco Valuation Services, LLC                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              25285 Network Place                                        When was the debt incurred?
              Chicago, IL 60673-1238
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 109 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     08       HireRight Solutions Inc.                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              23883 Network Place                                        When was the debt incurred?
              Chicago, IL 60673-1238
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     09       Hitachi Capital America Corp                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Solomon, Grindle, Lidstad &                                When was the debt incurred?
              Wintringer
              11682 El Camino Real #250
              San Diego, CA 92130
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     10       Hitachi Capital America Corp.                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              21925 Network PLace                                        When was the debt incurred?
              Norwalk, CT 06854
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 110 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     11       Howard's Pest Control Corp                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1370 N Abby                                                When was the debt incurred?
              Fresno, CA 93703-3644
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     12       Hurricane Products                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              A Kli Company                                              When was the debt incurred?
              24899 Avenue
              Valencia, CA 91355
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     13       Hurricane Products A Kli Company                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              24899 Ave. Rockefeller                                     When was the debt incurred?
              Pasadena, CA 91189-0145
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 111 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     14       ICI Paints - Wilshire                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 100145                                              When was the debt incurred?
              Pasadena, CA 91185
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     15       ICW Group                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 85563                                               When was the debt incurred?
              San Diego, CA 92186-5563
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     16       IDEA Printing & Graphics                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1921 E Main Street                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 112 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     17       Idemitsu Apollo Corporatiion                               Last 4 digits of account number       4739                                                   $0.00
              Nonpriority Creditor's Name
              a New York Corporation                                     When was the debt incurred?
              c/n Downey Brand LLP
              621 Capitaol Mall 18th Floor
              Sacramento, CA 95814-4731
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     18       Industrial Container Service                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2067                                                When was the debt incurred?
              Montebello, CA 90640
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     19       Internal Revenue Service                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Centralized Insolvency Operations                          When was the debt incurred?
              P.O. Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential
                  Yes                                                       Other. Specify   non-priority taxes owed


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 113 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7


     4.3      International Petro Products
     20       Products                                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              and Additives Co., Inc.                                    When was the debt incurred?
              7600 Dublin Blvd. Suite 240
              Dublin, CA 94568
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     21       Interstate Biling Service                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Vicking Trailer Corp                                       When was the debt incurred?
              PO Box 2208
              Decatur, AL 35609
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 114 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     22       Interstate Billing Service, Inc                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Kroger Equipment                                           When was the debt incurred?
              PO Box 2208
              Decatur, AL 35609
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     23       Interstate Billing Service, Inc                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              WE.M. Tharp, inc                                           When was the debt incurred?
              PO Box 2208
              Decatur, AL 35609
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     24       Interstate Oil Company                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              8221 Alpine Ave.                                           When was the debt incurred?
              Sacramento, CA 95826
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 115 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     25       IPC                                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              333 City Blvd., Ste. #650                                  When was the debt incurred?
              Orange, CA 92868
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     26       IPC                                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              333 City Blvd. , Suite #650                                When was the debt incurred?
              Orange, CA 92868
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     27       IPC (USA), Inc. 2                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              333 City Blvd., Ste. 650                                   When was the debt incurred?
              Orange, CA 92868
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 116 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     28       Ironwood Conssulting, Inc.                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 10068                                               When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     29       Ironwood Consulting Inc.                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Law Office of Betty Auton-Beck,                            When was the debt incurred?
              PLC
              300 E State, Ste. 600
              Redlands, CA 92373
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.3      J B's Cement & Landscape
     30       Supplies                                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              303 Ben Maddox Way                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 117 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     31       Jack Benigno Tree Service                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3347 S Akers Road                                          When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     32       Jameson Hydro Crane Services                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              27452 Road 180                                             When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     33       Janco Products, Inc.                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              830 E Babcock Court                                        When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 118 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     34       Jason Castellucci                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2815 S Lovers Lane #E                                      When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     35       Jason Castellucci                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2815 S Lovers Lane #E                                      When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     36       Jayson javitz Esq.                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3775 N Freeway #101                                        When was the debt incurred?
              Sacramento, CA 95834-1959
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 119 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3      Jeffer Mangels Butler and Mitchell
     37       LLP                                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1900 Ave. of he Stars 7th Floor                            When was the debt incurred?
              Los Angeles, CA 90067
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     38       Jenkins Automotive, inc.                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              809 E Center Street                                        When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     39       Jensen and Pilegard, Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1739 E Terrace Ave.                                        When was the debt incurred?
              Fresno, CA 93703
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 120 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     40       JMBM                                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1801 W Olympic Blvd.                                       When was the debt incurred?
              Pasadena, CA 91199-1263
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     41       Joe Russell Farms                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              13603 Ave. 932                                             When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     42       John Cardinal Parks                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1700 Lincoln St. #4000                                     When was the debt incurred?
              Denver, CO 80203
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 121 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     43       John Castellucci                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5740 Kanan Dume Rd                                         When was the debt incurred?
              Malibu, CA 90265
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     44       John Castelluci                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5740 Kanan Dume Rd                                         When was the debt incurred?
              Malibu, CA 90265
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     45       John Delellis Castellucci                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5740 Kanan Dume Road                                       When was the debt incurred?
              Malibu, CA 90265
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 122 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     46       John Graham                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              c/o John A Graham                                          When was the debt incurred?
              1900 Ave. of the Stars 7th Floor
              Los Angeles, CA 90067-4308
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     47       John Kim                                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              535 Anton Blvd. 10th Floor                                 When was the debt incurred?
              Costa Mesa, CA 92626
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     48       Johnson & Thomas                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 892                                                 When was the debt incurred?
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 123 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     49       Johnstone Supply                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              of Bakersfield                                             When was the debt incurred?
              2319 Western Ave.
              Las Vegas, NV 89102
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     50       Johnstone Supply Fresno                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5658 E Clinton Ave                                         When was the debt incurred?
              Fresno, CA 93727
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     51       Jorgensen Company                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 398655                                              When was the debt incurred?
              San Francisco, CA 94139-8655
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 124 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     52       Joseph A Eisenberg                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Jeffer Mangels Butler and Michell                          When was the debt incurred?
              LLP
              1900 Ave. of the Stars 7 th Floor
              Los Angeles, CA 90067-4308
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     53       Joseph Rocha                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1433 N Citrus Ct.                                          When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     54       KAMPS Wholesale                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              903 W Center St., Ste. #7                                  When was the debt incurred?
              Manteca, CA 95337
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 125 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     55       Kamps Wholesale                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              903 West Center Street                                     When was the debt incurred?
              Manteca, CA 95337
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     56       Kaweah Lift, Inc.                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 4227                                                When was the debt incurred?
              Visalia, CA 93278
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     57       Kelly Pipe                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2827                                                When was the debt incurred?
              Santa Fe Springs, CA 90670-2827
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 126 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     58       Kern County Conatruction, Inc                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 6095                                                When was the debt incurred?
              Bakersfield, CA 93386
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     59       Kern Oil & Refining Co.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7724 E Panama Lane                                         When was the debt incurred?
              Bakersfield, CA 93307-9210
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     60       Keuske Ekectruc                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2485 S Cherry                                              When was the debt incurred?
              Fresno, CA 93706
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 127 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     61       Kevin R Bonsigmore                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              400 Capital Mall 22nd Floor                                When was the debt incurred?
              Sacramento, CA 95814-4421
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     62       Kinder Morgan Energy Partners                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4149 S Maple Ave.                                          When was the debt incurred?
              Fresno, CA 93725
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     63       Kings Cash Group                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              The Rubin Law Firm PLLC                                    When was the debt incurred?
              New York, NY 10004
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 128 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     64       Kings County Sheriff's Office                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Civil Division                                             When was the debt incurred?
              144 W. Lacey Blvd.
              PO BOX 986
              Hanford, CA 93232
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for purposes of halting enforcement
                  Yes                                                       Other. Specify   of any potential or ongoing wage orders.

     4.3
     65       Kiva Energy Transport-ca                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1262 Dupont Crt.                                           When was the debt incurred?
              Manteca, CA 95336
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     66       Kjug                                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1401 W Caldwell Ave.                                       When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 129 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     67       KJUG                                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1401 West Caldwell Ave.                                    When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     68       Knoch Tire Co.                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              936 N Ben Maddox                                           When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     69       Kodiak Mining & Minerals II, LLC                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7000 W Palmetto Park Road                                  When was the debt incurred?
              Suite 302
              Boca Raton, FL 33433
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 130 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     70       Kohls/Capital One                                          Last 4 digits of account number       8702                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Credit Administrator                                                                       Opened 09/07 Last Active
              Po Box 3043                                                When was the debt incurred?           5/29/16
              Milwaukee, WI 53201
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     71       KOI "N" Country                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              27037 S Mooney Blvd.                                       When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     72       Kroonenberg Crane Service Inc.                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              30497 N Highway 99                                         When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 131 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     73       L A Data Systems, LLC                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2828 Cochran St. #309                                      When was the debt incurred?
              Simi Valley, CA 93065
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     74       LC Services                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Petroleum Maintenance                                      When was the debt incurred?
              3887 N Valentine
              Fresno, CA 93722
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     75       Lebeau-Thelen, LLP                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5001 E. Commercenter Dr.                                   When was the debt incurred?
              Suite #300
              Bakersfield, CA 93309
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 132 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     76       Lee Financial Services                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 398424                                              When was the debt incurred?
              San Francisco, CA 94139-8424
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     77       Lee Financial Services                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2727 E Central                                             When was the debt incurred?
               CA 93782-5242
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     78       Lee's Service                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5829 N Golden State Blvd.                                  When was the debt incurred?
              Fresno, CA 93722
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 133 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     79       Leisle Electric                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2485 S. Cherry                                             When was the debt incurred?
              Fresno, CA 93706
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     80       Levinson Arshonsky Kurtz                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Scott H Siegel                                             When was the debt incurred?
              15303 Ventura Blvd. Suite 1650
              Sherman Oaks, CA 91403-6620
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     81       LMI Engineering LLC                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 54977                                               When was the debt incurred?
              Los Angeles, CA 90054-0977
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 134 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     82       Lorensen Propane, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2658 E. Pacheco Hwy                                        When was the debt incurred?
              Los Banos, CA 93635-9524
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     83       Lovee D Sarenas                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              622 W 5th St. #4000                                        When was the debt incurred?
              Los Angeles, CA 90071
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     84       Lubercating Specialties Co.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 31001-0858                                          When was the debt incurred?
              Pasadena, CA 91110-0858
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 135 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     85       Mack Financial Services                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              a division of VFS U                                        When was the debt incurred?
              PO Box 26131
              Greensboro, NC 27402-6131
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     86       Marietta M. Gray                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Property Management                                        When was the debt incurred?
              P.O. Box 301
              Exeter, CA 93221
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     87       Mark R Suflita                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1286 Santa Cruz Ave                                        When was the debt incurred?
              Tulare, CA 93274-7908
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 136 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     88       Mark's Upholstery/Auto Detail                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              810-A E. Center Ave                                        When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     89       Marshall Gas Control                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              DIV of S H Leggitt Co                                      When was the debt incurred?
              1000 Civic Center Dr
              San Marcos, TX 78666
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     90       Mass Mutual Ins.                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Rudy E Facciani Co, Ins.                                   When was the debt incurred?
              P.O. Box 4267
              Fresno, CA 93744-4267
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 137 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     91       Massachusetts General Life                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              P.O. Box 19439                                             When was the debt incurred?
              Springfield, IL 62794-9439
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     92       Matthew F. Bahr                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attorney at Law                                            When was the debt incurred?
              P.O. Box 6848
              Visalia, CA 93292-6848
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     93       McAlister's Automotive                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              822 N. Ben Maddox Way                                      When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 138 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     94       McCarty Equipment Co.. LTD                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept 207                                                   When was the debt incurred?
              P.O. Box 4346
              Houston, TX 77210-4346
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     95       McCoy's Truck Tire Service                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1407 Lone Palm Ave                                         When was the debt incurred?
              Modesto, CA 95351
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     96       MCI                                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              P.O. Box 371838                                            When was the debt incurred?
              Pittsburgh, PA 15250-7838
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 139 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.3
     97       MCI Residental Service                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              MCI Small Business Service                                 When was the debt incurred?
              P.O. Box 9644
              Mission Hills, CA 91346-9644
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.3
     98       MEA Capital Holdings Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Matthew E Avruch                                           When was the debt incurred?
              5823 Cardoza Drive
              Thousand Oaks, CA 91362
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.3
     99       Medallion Supply Inc                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 980246                                              When was the debt incurred?
              West Sacramento, CA 95798-0246
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 140 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     00       Meeder EQ Ramsom MFG                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 12446                                               When was the debt incurred?
              Fresno, CA 93777-2446
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.4      Mercendes-Benz Financial Ser. USA
     01       LLC                                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              c/o Cooksey, Toolen, Gage, Duffy &                         When was the debt incurred?
              Wong
              535 Anton Blvd 10th Floor
              Costa Mesa, CA 92626-1947
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     02       Merricmac Energey Group                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1240 E. Wardlow Rd                                         When was the debt incurred?
              Long Beach, CA 90807
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 141 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     03       Michael L Wil helm                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              205 E River Perk Circle                                    When was the debt incurred?
              Fresno, CA 93720-1572
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     04       Michael W. Todd, D.C.                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2037 East Noble Ave                                        When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.4
     05       Midwest Hose & Specialty, Inc.                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              P.O. BOX 96558                                             When was the debt incurred?
              Oklahoma City, OK 73143-6558
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 142 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     06       Midwest Meter Inc.                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              P.O. Box 376                                               When was the debt incurred?
              Hampton, IA 50441
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.4
     07       Midwest Pump & Meter Co. Inc.                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2000 S Broadway                                            When was the debt incurred?
              Saint Louis, MO 63104
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.4
     08       Miller's Automotive                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1510 E. Main St. Ste A                                     When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 143 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     09       Mills Electric                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              14911 Ave. 280                                             When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.4
     10       ModuLar Space Corporation                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              ModSpace Attn: L Farell                                    When was the debt incurred?
              1200 Swedesford Rd.
              Berwyn, PA 19312-1172
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     11       Monica Carballo                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              11513 Zancara Dr                                           When was the debt incurred?
              Bakersfield, CA 93311
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 144 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     12       Monumental Life Insurance Co.                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              P.O. Box 961019                                            When was the debt incurred?
              Fort Worth, TX 76161-0019
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.4
     13       Morgan Stanley                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              520 W. Main Street                                         When was the debt incurred?
              Visalia, CA 93291-9912
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.4
     14       Mosier Bros                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 577                                                 When was the debt incurred?
              Woodlake, CA 93286-0577
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 145 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     15       MPC FuelMARC                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1121 E Missouri Ave., Suite 115                            When was the debt incurred?
              Phoenix, AZ 85014-2709
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.4      MRM Capital Holdings &
     16       Investments Inc                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              5823 Cardoza Dr                                            When was the debt incurred?
              Thousand Oaks, CA 91362-4107
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     17       Musket Corporation                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              P.O. Box 62610                                             When was the debt incurred?
              Oklahoma City, OK 73126
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 146 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     18       Napa Auto Parts                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              File 56893                                                 When was the debt incurred?
              Los Angeles, CA 90074-6893
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.4
     19       National Motor Freight Traffic                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1001 N Fairgax                                             When was the debt incurred?
              Alexandria, VA 22314-1798
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     20       National Pen                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              P.O. Box 847203                                            When was the debt incurred?
              Dallas, TX 75284-7203
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 147 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     21       National Spencer Inc.                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 57                                                  When was the debt incurred?
              Wichita, KS 67201-0057
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     22       National Tire Warehouse                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 277612                                              When was the debt incurred?
              Atlanta, GA 30384-7612
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     23       Nations Fund 1 LLC                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              501 Merritt Seven 6th Floor                                When was the debt incurred?
              Norwalk, CT 06851-7002
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 148 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     24       Nations Fund I, LLC                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Russell W Reynolds, Esq.                                   When was the debt incurred?
              Coleman & Horowitt LLP
              499 West Shaw, Suite 116
              Fresno, CA 93704
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     25       NCS                                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              P.O. Box 24101                                             When was the debt incurred?
              Cleveland, OH 44124
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.4
     26       New Pig Corporation                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              One Pork Ave.                                              When was the debt incurred?
              Tipton, PA 16684-0304
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 149 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     27       New West Petroleum Inc.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Drept. 3384                                                When was the debt incurred?
              PO box 39000
              San Francisco, CA 94139-0840
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     28       New York Life Insurance                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              and Annuity Corporation                                    When was the debt incurred?
              75 Remittance Dr., Ste 3021
              Chicago, IL 60675
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     29       Nextel Communications                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 54977                                               When was the debt incurred?
              Los Angeles, CA 90054-0977
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 150 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     30       NGL Crude Logistics LLC                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              6120 South Yale Ave., Suite 805                            When was the debt incurred?
              Tulsa, OK 74136
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     31       NGL Marketing Accounting                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 745785                                              When was the debt incurred?
              Los Angeles, CA 90074
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     32       North American Lubricants, Co.                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7337 E Doubletree Ranch Road,                              When was the debt incurred?
              Suite 180
              Scottsdale, AZ 85258
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 151 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     33       Northwest Pump & Equipment Co.                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2800 NW 31st Ave.                                          When was the debt incurred?
              Portland, OR 97210
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     34       O'Reilly Automotive, Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 9464                                                When was the debt incurred?
              Springfield, MO 65801-9464
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     35       Occiental Energy Marketing                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 849129                                              When was the debt incurred?
              Dallas, TX 75284
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 152 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     36       Office Depot                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 88040                                               When was the debt incurred?
              Chicago, IL 60680-1040
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     37       Office Source 360                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1321 E Marinette Avre                                      When was the debt incurred?
              Exeter, CA 93221
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     38       Office Team                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 743295                                              When was the debt incurred?
              Los Angeles, CA 90074-3295
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 153 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     39       OMNI Agri                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1077                                                When was the debt incurred?
              Hanford, CA 93230
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     40       Onsy Said MD                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              515 W Acequia Ave.                                         When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     41       Ontrac                                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 841664                                              When was the debt incurred?
              Los Angeles, CA 90081-1664
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 154 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     42       OPIS                                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 9407                                                When was the debt incurred?
              Gaithersburg, MD 20898-9407
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     43       P S Trading, Inc.                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              AVFuel Corporation                                         When was the debt incurred?
              PO Box 67000 Dept 135-01
              Detroit, MI 48267-0135
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     44       PACIFIC Employees                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              306 N Willis St                                            When was the debt incurred?
              Visalia, CA 93291-0506
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 155 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     45       Pacific Legacy Inc                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2641 HWY 4                                                 When was the debt incurred?
              PO Box 6050
              Arnold, CA 95223
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     46       Pacific Legacy Inc.                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              306 N Willis St                                            When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     47       Pacific Management Services                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1788 N Helm Ave. Ste 112                                   When was the debt incurred?
              Brownsville, OR 97327
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 156 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     48       Pacific Pride Services Inc.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2099                                                When was the debt incurred?
              Salem, OR 97308-2099
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     49       Pacific Pride Services, LLC                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              c/o Sean C. Kirk                                           When was the debt incurred?
              Bone McAllester Norton PLLC
              511 Union Street, Suite 1600
              Nashville, TN 37219
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     50       Pacific Refining Co                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept 1065 SCF                                              When was the debt incurred?
              Pasadena, CA 91050
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 157 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     51       Pacific Supplieres Co                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              8541 Lankershim Blvd                                       When was the debt incurred?
              Sun Valley, CA 91352
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     52       Pacific Truck Tank Inc.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7029 Florin-Perkins                                        When was the debt incurred?
              Sacramento, CA 95828
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     53       Pamela D Anderson                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              308 N Locust Street                                        When was the debt incurred?
              Grand Island, NE 68801-5969
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 158 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     54       Pan Pacific Petroleum                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              File 41899                                                 When was the debt incurred?
              Los Angeles, CA 90074
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     55       Paragon Business Service Inc                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4360 Beltway Place #240                                    When was the debt incurred?
              Arlington, TX 76018
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     56       Paramounrt Petroleum Corp                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              File 55760                                                 When was the debt incurred?
              Los Angeles, CA 90074-5760
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 159 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     57       Pat Galvan                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              115 Shasta Cove                                            When was the debt incurred?
              Georgetown, TX 78633
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     58       Paul Oil Co., Inc                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 248                                                 When was the debt incurred?
              Oakdale, CA 95361
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     59       Payment Remittance Center                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 54349                                               When was the debt incurred?
              Los Angeles, CA 90054-0349
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 160 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     60       Pearl Beta Funding, LLC                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              40 Exchange Place 3rd Floor                                When was the debt incurred?
              New York, NY 10005
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     61       Pennymac Loan Services, LLC                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 30597                                               When was the debt incurred?
              Los Angeles, CA 90030-0597
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     62       People's United Equipment Finance                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              10200 Mallard Creek Road, Suite                            When was the debt incurred?
              200
              Charlotte, NC 28262
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 161 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     63       People's United Equipment Finance                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              10715 David Taylor Drive                                   When was the debt incurred?
              Suite 550 (br10)
              Charlotte, NC 28262
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.4      People's United Equipment Finance
     64       Corp                                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              300 Frank W Burr Blvd., Suite 50                           When was the debt incurred?
              Teaneck, NJ 07666
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     65       Pers                                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1560                                                When was the debt incurred?
              Ogden, UT 84402-1560
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 162 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     66       Personal Computoers of America                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 506                                                 When was the debt incurred?
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     67       Peter Ratican                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              The Ratican Group LLC                                      When was the debt incurred?
              112 S Orange Grove #108
              Pasadena, CA 91105
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     68       Petroleum Wholesale Gas Sa;es                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              America's Propane                                          When was the debt incurred?
              PO Box 965
              Valley Forge, PA 19482-0862
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 163 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     69       Petrosius Construction, Inc                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1110 N Cain Street                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     70       Philladelphia Insurance Companies                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 70251                                               When was the debt incurred?
              Philadelphia, PA 19176-0251
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     71       Pilot Automotive, Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              13000 Temple Ave                                           When was the debt incurred?
              La Puente, CA 91746
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 164 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     72       Pinnacle Petroleum                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7911 Professional Circle                                   When was the debt incurred?
              Huntington Beach, CA 92648
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     73       Pinnacle Products                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              International Inc.                                         When was the debt incurred?
              668 Stony Hill Rd., Ste. 302
              Morrisville, PA 19067
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     74       Pixley Auto Parts                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              & Farm Supply, Inc.                                        When was the debt incurred?
              PO Box 576
              Pixley, CA 93256
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 165 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     75       Plains Marketing LLC                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              NW 5116                                                    When was the debt incurred?
              PO Box 1450
              Minneapolis, MN 55485-5116
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     76       PLIC-SBD Grand Island                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 10372                                               When was the debt incurred?
              Des Moines, IA 50306-0372
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     77       Polution Control Dist.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1990 E Gettysburg Ave                                      When was the debt incurred?
              Fresno, CA 93726-0244
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 166 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     78       Porterville Recorder                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Business Office                                            When was the debt incurred?
              PO Box 151
              Porterville, CA 93258
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     79       Preeo Silverman Green & Egle PC                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              6465 Greenwood Plaza Blvd. Ste.                            When was the debt incurred?
              1025
              Englewood, CO 80111
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     80       Pro Tow                                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2592                                                When was the debt incurred?
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 167 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     81       Propane Equipment Repairs, LLC                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1211 W Vine Ave                                            When was the debt incurred?
              Visalia, CA 93291-4000
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     82       PSI Equipment Sales                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2643 E Church Ave.                                         When was the debt incurred?
              Fresno, CA 93706-4511
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     83       Public Health Service HHS                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Room 4A53 Parklawn Bldg                                    When was the debt incurred?
              5600 Fishers Ln
              Rockville, MD 20857
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed.




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 168 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     84       Pudential Overall Supply                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 11210                                               When was the debt incurred?
              Santa Ana, CA 92711-1210
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     85       Quality Muffler                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              8007 E Main Street                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     86       Quinn Company                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 849665                                              When was the debt incurred?
              Los Angeles, CA 90084-9665
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 169 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     87       Qyuality Steel                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 249                                                 When was the debt incurred?
              Cleveland, MS 38732-0249
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     88       Ral Company                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              144 W Walnut St., Unit A                                   When was the debt incurred?
              Fullerton, CA 92832
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     89       Ramos Oil                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 401                                                 When was the debt incurred?
              West Sacramento, CA 95691-1495
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 170 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     90       Ramos Oil Company                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept 34335                                                 When was the debt incurred?
              PO Box 39000
              San Francisco, CA 94139
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     91       Randye b Soref                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2049 Century park East Ste. 2300                           When was the debt incurred?
              Los Angeles, CA 90067-3125
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     92       Rapid Advance- Eaglewood                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7316 Wisconsin Ave., Suite 350                             When was the debt incurred?
              Bethesda, MD 20814
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                                                                                             owed
                  Yes                                                       Other. Specify   RFS-BF-Low, LLC



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 171 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     93       Raymond Handling Concepts Corp                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              41400 Boyce Road                                           When was the debt incurred?
              Fremont, CA 94538
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     94       Raymond Leasing Corporation                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 301590                                              When was the debt incurred?
              Dallas, TX 75315-9000
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.4
     95       Red Triangle Oil Company                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2625                                                When was the debt incurred?
              Fresno, CA 93745
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 172 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     96       Regional Counsel                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Department of Housing and Urban                            When was the debt incurred?
              Development
              600 Harrison St 3rd Floor
              San Francisco, CA 94107-1300
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed.

     4.4
     97       Regional Counsel                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Medicare/Ctrs for M&M Svcs                                 When was the debt incurred?
              US Dept of Health and Human
              Services
              90 7th St Ste 4-500
              San Francisco, CA 94103-6705
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed.




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 173 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.4
     98       Regional Counsel                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              US Dept of Veterans Affairs                                When was the debt incurred?
              1301 Clay St Ste 1300N
              Oakland, CA 94612-5209
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed.

     4.4
     99       Reliance Label Solutions Inc.                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 25250                                               When was the debt incurred?
              Overland Park, KS 66225
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     00       Relton Corporation                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 25250                                               When was the debt incurred?
              Overland Park, KS 66225
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 174 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     01       Rhino Container                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3401 Etiwanda Ave., #731A                                  When was the debt incurred?
              Mira Loma, CA 91752
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     02       Richard A Solomon                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              12651 High Bluff Dr. #250                                  When was the debt incurred?
              San Diego, CA 92130-2094
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     03       Richard Bais                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              483 E Newport Dr.                                          When was the debt incurred?
              Fresno, CA 93730
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 175 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     04       Richmond Capital Group                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              125 Maiden Lane, Ste. 501                                  When was the debt incurred?
              New York, NY 10038
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     05       Riley C Walter                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              205 E River Park Circle, Ste 410                           When was the debt incurred?
              Fresno, CA 93720-1572
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     06       Rising Bird Inc.                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3698 Third Street #316                                     When was the debt incurred?
              San Rafael, CA 94901
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 176 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     07       River City Petroleum Inc.- AG                              Last 4 digits of account number                                                     $123,414.00
              Nonpriority Creditor's Name
              3775 N Freeway Blvd., Ste 101                              When was the debt incurred?
              Sacramento, CA 95834
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collections


     4.5
     08       RLI Insurance Company                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 4726                                                When was the debt incurred?
              Carol Stream, IL 60197-4726
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     09       Robert K Moore                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2404 S Beech Drive                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 177 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     10       Robert V Jensen, Inc.                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 12907                                               When was the debt incurred?
              Fresno, CA 93779
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     11       Roche Oil, Inc.                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1120 East Paige                                            When was the debt incurred?
              PO Box 89
              Tulare, CA 93275-0089
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     12       Roe Oil Company                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 581                                                 When was the debt incurred?
              Hanford, CA 93230
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 178 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     13       Roland Gary Jones                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1745 Broadway 17th Fl                                      When was the debt incurred?
              New York, NY 10019-4642
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     14       Ronald Greenall CPA                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4806 W Mineral King                                        When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     15       Roth Industries, Inc.                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Keybank (lockbox)                                          When was the debt incurred?
              PO Box 901
              Albany, NY 12201
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 179 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     16       RRE&E Corporation                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              616 E Race Ave                                             When was the debt incurred?
              Visalia, CA 93292-3838
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     17       Russell Paving, Inc.                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1110 N Cain Street                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     18       S A Cassaday Service Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 3935                                                When was the debt incurred?
              Visalia, CA 93278
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 180 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     19       S C Unisource Maintenance Supply                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Unisource- Fresno                                          When was the debt incurred?
              PO Box 39000 Dept. 39044
              San Francisco, CA 94139-9044
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     20       Sallyport Commercial Finance                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              14100 SW Freeway, Suite 21                                 When was the debt incurred?
              Sugar Land, TX 77478
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     21       Sallyport Commercial Finance LLC                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Levinson Arshonsky & Kurtz, LLP                            When was the debt incurred?
              15303 Ventura Blvd., Ste. 1650
              Sherman Oaks, CA 91403
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 181 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     22       Sam Davis Towing of Visalia                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1700 E Goshen Ave. #B                                      When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     23       San Joaquin Filter Recycling                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1922 W Belmont Ave.                                        When was the debt incurred?
              Fresno, CA 93728-2056
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     24       San Joaquin Lightinh Services                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 4313                                                When was the debt incurred?
              Visalia, CA 93278-4313
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 182 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     25       San Joaquin Pest Control                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 6460                                                When was the debt incurred?
              Visalia, CA 93290
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     26       San Joaquin Power Employees                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Credit Union                                               When was the debt incurred?
              PO Box 16039
              Fresno, CA 93755-6039
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     27       San Joaquin Refining Co., Inc.                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 840761                                              When was the debt incurred?
              Los Angeles, CA 90084-0761
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 183 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     28       San Joaquin Valley Unified                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Air Pollution Control District                             When was the debt incurred?
              1990 E Gettysburg Ave
              Fresno, CA 93726-0244
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     29       Santander Consumer USA                                     Last 4 digits of account number       1000                                           $13,667.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                                                                 Opened 06/17 Last Active
              10-64-38-Fd7 601 Penn St                                   When was the debt incurred?           11/06/18
              Reading, PA 19601
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Lease


     4.5
     30       Sawyer Petroleum                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1543 W 16th Street                                         When was the debt incurred?
              Long Beach, CA 90813
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 184 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     31       SBC Smart Pages.com                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 650098                                              When was the debt incurred?
              Dallas, TX 75260-2440
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     32       SBC Tax Collector                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              268 W Hospitality Lane                                     When was the debt incurred?
              San Bernardino, CA 92415-0360
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     33       SC Fuel                                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 14215                                               When was the debt incurred?
              Orange, CA 92863-1215
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 185 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     34       SC Fuels                                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 14215                                               When was the debt incurred?
              Orange, CA 92863
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     35       SC Fuels AG                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
                                                                         When was the debt incurred?

              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify


     4.5
     36       Schwebel Petroleum Company                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 512                                                 When was the debt incurred?
              Bakersfield, CA 93302
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 186 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     37       Scott Belknap Well Drilling                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              38193 Rd. 76                                               When was the debt incurred?
              Dinuba, CA 93618
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     38       Seaport Refining & Envirmental                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              423 Rim Rock Road                                          When was the debt incurred?
              Nipomo, CA 93444
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     39       Securities & Exchange Commisions                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy Counsel                                   When was the debt incurred?
              444 South Flower Street, Ste. 900
              Los Angeles, CA 90071-9591
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 187 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5      Securities and Exchange
     40       Commission                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attention Bankruptcy Counsel                               When was the debt incurred?
              5670 Wilshire Blvd. Fl 11
              Los Angeles, CA 90036
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed.

     4.5
     41       Seiberts                                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2919 N Parkway                                             When was the debt incurred?
              PO Box 9543
              Fresno, CA 93793
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     42       Selecrt Business Systems                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4545 N Marty                                               When was the debt incurred?
              Fresno, CA 93722
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 188 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     43       Select Business Systems                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4545 N Marty                                               When was the debt incurred?
              Portland, OR 97220
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     44       Select Business Systems                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4545 N Marty                                               When was the debt incurred?
              93722
              Fresno, CA 93722
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     45       Sequoia Auto & Truck Parts                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              807 N Ben Maddox Way                                       When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 189 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     46       Sequoia Mailing Service Inc.                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              8020 W Doe Ave., Ste. B                                    When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     47       Sequoia Mailing Service Inc.                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              8020 W Doe Ave. Ste B                                      When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     48       Severina Mazorra                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2446 Shoreline Rd.                                         When was the debt incurred?
              Napa, CA 94558
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 190 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     49       Shanti M Katon                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              222 Delaware Ave. #1101                                    When was the debt incurred?
              Wilmington, DE 19801-1621
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     50       Shields Harper & Co.                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2367                                                When was the debt incurred?
              Martinez, CA 94553
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     51       Shields, Harper & Co.                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2367                                                When was the debt incurred?
              Martinez, CA 94553
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 191 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     52       Shoreside Capital                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              12576 Venice Blvd. #208                                    When was the debt incurred?
              Los Angeles, CA 90066
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     53       Siegel Oil Company                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Titanb Laboragtories                                       When was the debt incurred?
              PO Box 5332
              Denver, CO 80217
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     54       Siena Lending Group                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              9 W Broad St., 5th Floor                                   When was the debt incurred?
              Stamford, CT 06902
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 192 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     55       Sierra Sign Co.                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              330 N Santa Fe                                             When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     56       Signal Fluid Solutions, Inc.                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3403 Niki Way                                              When was the debt incurred?
              Riverside, CA 92507
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     57       Silvas Oil Company, Inc.                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1048                                                When was the debt incurred?
              Fresno, CA 93714
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 193 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     58       Small Busainess Administration                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 740192                                              When was the debt incurred?
              Atlanta, GA 30374-0192
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     59       Smart Produce                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              700 W Hillsboro Blvd., St. 4-100                           When was the debt incurred?
              Deerfield Beach, FL 33441
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     60       Smith's Auto Parts, Inc.                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              216 South Bridge Street                                    When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 194 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     61       Social Security Administration                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Office of the General Counsel,                             When was the debt incurred?
              Region IX
              160 Spear St. Ste 800
              San Francisco, CA 94105-1545
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed.

     4.5
     62       Software Support Services                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1965 SW Airport Ave                                        When was the debt incurred?
              PO Box 3012
              Corvallis, OR 97339-3012
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     63       Southern Advertising                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              14 Bill Drive                                              When was the debt incurred?
              Greenville, SC 29610
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 195 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     64       Southern Calif. Edision                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 600                                                 When was the debt incurred?
              Rosemead, CA 91771-0001
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     65       Southern Pacific Trans. Co.                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 3705                                                When was the debt incurred?
              Omaha, NE 68103-2487
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     66       Speedy Truck Wash LLC                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3846 S Front Ave.                                          When was the debt incurred?
              Fresno, CA 93725
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 196 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     67       Spherion Staffing LLC                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 742487                                              When was the debt incurred?
              Los Angeles, CA 90074-2487
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     68       Stan Boyett & Son Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Kathleen H Hollowell                                       When was the debt incurred?
              601 McHenry Ave.
              Modesto, CA 95350-5411
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     69       Stan Boyett & Son, Inc.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Bonnie J Anderson                                          When was the debt incurred?
              1101 Standiford Ave. #B1
              Modesto, CA 95350-0981
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 197 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     70       Stanton Office Machines                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4312 N Selland Ave.                                        When was the debt incurred?
              Fresno, CA 93722
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     71       Staples Contract & Commercial                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 414524                                              When was the debt incurred?
              Boston, MA 02241
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     72       Staples Credit Plan                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept. 51- 7813271110                                       When was the debt incurred?
              PO Box 78004
              Phoenix, AZ 85062-8004
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 198 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     73       Star Petroleum                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 387                                                 When was the debt incurred?
              Bakersfield, CA 93302
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     74       State Board of Equalization                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 942879                                              When was the debt incurred?
              Sacramento, CA 94279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     75       State Compensation Ins.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 7854                                                When was the debt incurred?
              Bakersfield, CA 93302
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 199 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     76       State of Califonia                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Franchise Tax Board                                        When was the debt incurred?
              PO Box 942867
              Sacramento, CA 94267-0011
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Notice of possible and potential taxes owed


     4.5
     77       State Water Res Control Board                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Calif Technology Trade                                     When was the debt incurred?
              PO Box 1402
              Sacramento, CA 95812-1402
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     78       State Wide Opacity Testing                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1774                                                When was the debt incurred?
              Tulare, CA 93275
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 200 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     79       Staunited, Inc                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept 177                                                   When was the debt incurred?
              PO Box 21228
              Tulsa, OK 74121-1228
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     80       Steve Young                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              225 N Akers #302                                           When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     81       Steven Kurtz                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              15303 Ventura Blvd Suite 1650                              When was the debt incurred?
              Sherman Oaks, CA 91403-6620
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 201 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     82       StoneBridge Analytics, LLC                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 25405                                               When was the debt incurred?
              Saint Paul, MN 55125
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     83       Suburban Pipe & Steel, Incl                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              721 E Acequia Avenue                                       When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     84       Sun Life Financial                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 7247-0381                                           When was the debt incurred?
              Philadelphia, PA 19170-0381
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 202 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     85       Sun Valley Oil Company                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              3940 Rosedale HWY                                          When was the debt incurred?
              Bakersfield, CA 93308
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     86       Suncell Electric & Construction                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dave Lindsay                                               When was the debt incurred?
              PO Box 4451
              Visalia, CA 93278
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     87       Sunnova Solar                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              20 E Green Way Plaza, Suite 475                            When was the debt incurred?
              Houston, TX 77046
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 203 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     88       Sunny Truck & RV Wash Inc.                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2713 Vinyard Place                                         When was the debt incurred?
              Fowler, CA 93625
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     89       Sunset Commuication                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2831 W Caldwell                                            When was the debt incurred?
              Visalia, CA 93277
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     90       Superior Press                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              11930 Hamden Place                                         When was the debt incurred?
              Santa Fe Springs, CA 90670
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 204 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     91       Synchrony Bank                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              c/o PRA Receivables Mngmt., LLC                            When was the debt incurred?
              PO Box 410212
              Norfolk, VA 23541
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     92       Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       9573                                                   $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                                                                 Opened 12/02/69 Last Active
              Po Box 956060                                              When was the debt incurred?           11/04/16
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     93       Tank Specialties of California                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 12907                                               When was the debt incurred?
              Fresno, CA 93779-2907
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 205 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     94       Targa Liquids Marketing                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 7300155                                             When was the debt incurred?
              Fresno, CA 93779-2907
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     95       Targray Industries, Inc.                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              31 Glenn St.                                               When was the debt incurred?
              Massena, NY 13662
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     96       TBS Plus, LLC                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 25070                                               When was the debt incurred?
              Fresno, CA 93729-5070
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 206 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.5
     97       TCF Equipment Finance                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              11100 Wayzata Blvd., Suite 801                             When was the debt incurred?
              Hopkins, MN 55305-5503
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     98       Team Green                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Raul Rodriguez                                             When was the debt incurred?
              PO Box 4185
              Visalia, CA 93278
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.5
     99       Tech Distribution & Tire Supply                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              28300 Industrial Blvd. #E                                  When was the debt incurred?
              PO Box 56747
              Hayward, CA 94545
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 207 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     00       Ted C & Mary A. Terry                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2073 N. Famersville Blvd.                                  When was the debt incurred?
              Farmersville, CA 93223
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     01       Ted Levine Drum Company                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 3246                                                When was the debt incurred?
              South El Monte, CA 91733-0246
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     02       Teeco Products, Inc.                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 3246                                                When was the debt incurred?
              South El Monte, CA 91733-0246
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 208 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     03       Telepacific Communications                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 526015                                              When was the debt incurred?
              Sacramento, CA 95852-6015
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     04       Televent DTN LLC                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              26385 Network Place                                        When was the debt incurred?
              Chicago, IL 60673-1263
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     05       Terminal Air Brake Supply Inc                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2475 S Cherry Ave                                          When was the debt incurred?
              Fresno, CA 93706-5098
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 209 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     06       Tesie Petroleum Inc.                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 390                                                 When was the debt incurred?
              Lukeville, AZ 85341
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     07       Tesoro REFG. MKTG & Supply                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              300 Concord Plaza Drive                                    When was the debt incurred?
              San Antonio, TX 78216
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     08       Texaco Refining and Marketing                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept 7877                                                  When was the debt incurred?
              Los Angeles, CA 90088-7877
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 210 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     09       TF Tire & Service, Inc.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Central Accounting                                         When was the debt incurred?
              837 Industrial Ave.
              Tulare, CA 93274
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     10       The Alignment Specialist                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1829                                                When was the debt incurred?
              Tulare, CA 93275
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     11       The Diesel Doctor, Inc.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4789 South K Street                                        When was the debt incurred?
              Tulare, CA 93274
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 211 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     12       The Fresno Bee                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1626 E Street                                              When was the debt incurred?
              PO Box 12466
              Fresno, CA 93778-2466
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     13       The Gas Company                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box C                                                   When was the debt incurred?
              Monterey Park, CA 91756-0001
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     14       The Good New Center                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1638 N Dinuba Blvd.                                        When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 212 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     15       The Home CRC                                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Dept. 32 2149252789                                        When was the debt incurred?
              PO Box 9001030
              Louisville, KY 40290-1030
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     16       The Lakes HOA                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 15007                                               When was the debt incurred?
              Vallejo, CA 94591
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     17       The Ratican Group LLC                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Peter Ratican                                              When was the debt incurred?
              112 S Orange Grove Blvd., Ste. 108
              Pasadena, CA 91105
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 213 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     18       The Villas at Lovers Lane                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2803 S Lovers Lane                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     19       Thomas K Wedell                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Accountcy                                                  When was the debt incurred?
              PO Box 22485
              Bakersfield, CA 93390
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     20       Timothy J Donahue Inc.                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attorney at Law                                            When was the debt incurred?
              1612 West Mineral King A
              Visalia, CA 93291-2111
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 214 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     21       Tires To Go                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 3609                                                When was the debt incurred?
              Visalia, CA 93278
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     22       TLC Ttransportation MGT                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Safety Consultants                                         When was the debt incurred?
              4709 N El Capitan #207
              Fresno, CA 93722
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     23       Togin-Branch Stationers                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              116 E Main Street                                          When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 215 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     24       TOH                                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1535-A E Acequia                                           When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     25       Tom R Ward Inc.                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Alliance Petroleum Products                                When was the debt incurred?
              PO Box 427
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     26       TOSCO- Conocophillips Co                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 52085                                               When was the debt incurred?
              Firebaugh, CA 93622
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 216 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     27       Total Benefits Services Inc.                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 25070                                               When was the debt incurred?
              Visalia, CA 93279-5070
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     28       Total Knowledge Computer Inc.                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1212 W Murry Ave                                           When was the debt incurred?
              Visalia, CA 93291-4712
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     29       Total Office Producrts                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1212 W Murry Ave.                                          When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 217 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     30       Tower Energy Group                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1983 W 190th Street Suite 100                              When was the debt incurred?
              Torrance, CA 90504
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     31       Trammo Petroleum Inc                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1111 Bagby Suite 1920                                      When was the debt incurred?
              Houston, TX 77002
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     32       TransUnion                                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 6790                                                When was the debt incurred?
              Fullerton, CA 92834
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Notice purposes only.




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 218 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     33       Transunion LLC                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              555 West Adams                                             When was the debt incurred?
              Chicago, IL 60661
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     34       Travelers Indemnity                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              & Affiliates                                               When was the debt incurred?
              PO Box 660307
              Dallas, TX 75266
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     35       Travis L Clark                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1298 Santa Cruz Ave.                                       When was the debt incurred?
              Tulare, CA 93274-7908
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 219 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     36       Trench Plate Rental Co.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              13217 Laureldale Ave                                       When was the debt incurred?
              Downey, CA 90242
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     37       Trinity Indusstries                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 9517115                                             When was the debt incurred?
              Dallas, TX 75395-1716
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     38       Truck Parts & Service Co., Inc.                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1310                                                When was the debt incurred?
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 220 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     39       Truck Tub International Inc.                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2111                                                When was the debt incurred?
              Pismo Beach, CA 93448-2111
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     40       Tucoemas Federal Credit Union                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 5011                                                When was the debt incurred?
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     41       Tul County AG Commissioner                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              4437 S Spina St., Suite A                                  When was the debt incurred?
              Tulare, CA 93274
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 221 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     42       Tulare Co. Family Support Div.                             Last 4 digits of account number       2110                                                   $0.00
              Nonpriority Creditor's Name
              PO Box 6000                                                When was the debt incurred?
              San Francisco, CA 94160-9394
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     43       Tulare County AG Commissioner                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Sealer of WTS and Measure                                  When was the debt incurred?
              4437 S LaSpina Street, Suite A
              Tulare, CA 93274-9585
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     44       Tulare County Health & Human Ser.                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1845 N Dinuba Blvd.                                        When was the debt incurred?
              PO Box 5059
              Visalia, CA 93278
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 222 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     45       Tulare County Sheriff's Office                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Civil Division                                             When was the debt incurred?
              221 S. Mooney Blvd. Room 102
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for purposes of halting enforcement
                  Yes                                                       Other. Specify   of any potential or ongoing wage orders.

     4.6
     46       Tulare County Tax Collector                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Attn: Cass Cook, Auditor-Controller                        When was the debt incurred?
              Treasurer-Tax Collector
              221 S Mooney Blvs., Room 104-E
              Visalia, CA 93291-4593
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     47       Turner Gas Co.                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 26554                                               When was the debt incurred?
              Salt Lake City, UT 84126-0554
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 223 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     48       UHL Rubber Company Inc.                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              701 E Main Street                                          When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     49       Union Bank of California, N.A.                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Remittance Banking                                         When was the debt incurred?
              PO Box 85400
              San Diego, CA 92186-5400
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     50       Union Pacific Railroad                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              12567 Collections Center                                   When was the debt incurred?
              Chicago, IL 60693
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 224 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     51       Unisource                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 57006                                               When was the debt incurred?
              Los Angeles, CA 90074-7006
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     52       United Communications Group                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 90608                                               When was the debt incurred?
              Washington, DC 20077-7637
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     53       United Pacific Energry                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 6976                                                When was the debt incurred?
              Auburn, CA 95604-6976
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 225 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     54       United States Attorney                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              for Internal Revenue Service                               When was the debt incurred?
              2500 Tulare Street Ste. 4401
              Fresno, CA 93721-1318
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential taxes
                  Yes                                                       Other. Specify   owed

     4.6
     55       United States Department of Justice                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Civil Trail Section, Western Rejion                        When was the debt incurred?
              Box 683 Ben Franklin Station
              Washington, DC 20044
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     56       United States Treasury                                     Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1236                                                When was the debt incurred?
              Charlotte, NC 28201-1236
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 226 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     57       United Textile, Inc.                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              14275 Catalina St                                          When was the debt incurred?
              San Leandro, CA 94577
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     58       Univar USA Inc.                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 740896                                              When was the debt incurred?
              Los Angeles, CA 90074
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     59       US Capital Equipment                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Leasing, Inc.                                              When was the debt incurred?
              14742 Plaza Dr., Ste. 203
              Tustin, CA 92780
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 227 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     60       US Department of Education                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Bankruptcy Section                                         When was the debt incurred?
              50 Beale Street Ste 900
              San Francisco, CA 94105-1863
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed.

     4.6
     61       US Department of the Treasury                              Last 4 digits of account number       1512                                                   $0.00
              Nonpriority Creditor's Name
              Bureau of the Fiscal Service                               When was the debt incurred?
              PO Box 1686
              Birmingham, AL 35201-1686
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 228 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6      US EPA Region 9 Bankruptcy
     62       Contact                                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Office of Regional Counsel ORC-3                           When was the debt incurred?
              75 Hawthorne St.
              San Francisco, CA 94105
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice for possible and potential debts
                  Yes                                                       Other. Specify   owed.

     4.6
     63       Utility Trailer Sales                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              of Central CA. Inc.                                        When was the debt incurred?
              2680 S East Ave.
              Fresno, CA 93760
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     64       Valero Refining Co                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 500                                                 When was the debt incurred?
              San Antonio, TX 78292-0500
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 229 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     65       Valley Electrical Suppliers Inc.                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              300 N Cain                                                 When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     66       Valley Ind. & Fam. Med. GRP                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              225 S Chinowth Rd.                                         When was the debt incurred?
              Alpaugh, CA 93201
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     67       Valley Indsustrial Services Inc.                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              335 Washington Street                                      When was the debt incurred?
              PO Box 70577
              Bakersfield, CA 93387-0577
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 230 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     68       Valley Lube Equipment                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2381 S Sarah St                                            When was the debt incurred?
              Fresno, CA 93706-4524
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.6      Valley Pacific Petroleum Services,
     69       Inc.                                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1245                                                When was the debt incurred?
              French Camp, CA 95231-1245
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     70       Valley Tool & Abrasive, Inc                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              216 S Dunworth Str.                                        When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 231 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     71       Valley Voice Newspaper, Inc.                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 571                                                 When was the debt incurred?
              Visalia, CA 93279-0571
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.6      Valley Yellow Pages Dept Dept.
     72       33302                                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 39000                                               When was the debt incurred?
              San Francisco, CA 94139-3302
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     73       Van De Pol Enterprises, Inc.                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Rathmann Oil Company                                       When was the debt incurred?
              PO Box 1107
              Stockton, CA 95201
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 232 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     74       Venter Real Estate                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              235 Sylvan Way                                             When was the debt incurred?
              Redwood City, CA 94062
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     75       Verizon                                                    Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              by American Info Source LP as                              When was the debt incurred?
              Agent
              4515 N Santa Fe Ave
              Oklahoma City, OK 73118-7901
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     76       Verizon Wireless                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 9622                                                When was the debt incurred?
              Mission Hills, CA 91346-9622
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 233 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     77       VICNRG, LLC                                                Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1670 Keller Parkway                                        When was the debt incurred?
              Suite 247
              Keller, TX 76248-3777
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     78       VIS Pipe-Use                                               Last 4 digits of account number       7600                                                   $0.00
              Nonpriority Creditor's Name
              DIV of Hajoca Corp                                         When was the debt incurred?
              Depat. LA 21143
              Pasadena, CA 91185-1143
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     79       Visa Petroleum Inc.                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1392                                                When was the debt incurred?
              Fresno, CA 93716-1392
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 234 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     80       Visalia Lumber Co                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 70                                                  When was the debt incurred?
              Visalia, CA 93279-0070
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     81       Visalia Lumber Co                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 70                                                  When was the debt incurred?
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     82       Visalia Pipe & Supply                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 845768                                              When was the debt incurred?
              Los Angeles, CA 90084-5768
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 235 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     83       Visalia Radiator Service                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1119 E main Street                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     84       Visalia Times Delta                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 677393                                              When was the debt incurred?
              Dallas, TX 75267-7393
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     85       Vitol Inc. AG                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1100 Louisana St., Ste. 5500                               When was the debt incurred?
              Houston, TX 77062
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 236 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     86       Vollemer Excavation Inc.                                   Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              19760 Rd 222                                               When was the debt incurred?
              Strathmore, CA 93267
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     87       Volvo Construction Equipment                               Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 7247-6563                                           When was the debt incurred?
              Philadelphia, PA 19170-6263
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     88       WA Murry Inc.                                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 4607                                                When was the debt incurred?
              El Monte, CA 91734-0607
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 237 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     89       Wageworks Inc.                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 8363                                                When was the debt incurred?
              Pasadena, CA 91109-8363
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     90       Warehouse Systems                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 2808                                                When was the debt incurred?
              Fresno, CA 93745
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     91       Wawona Packing                                             Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              12133 Ave 408                                              When was the debt incurred?
              Cutler, CA 93615-2056
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 238 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     92       Wellls Fargo Bank                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              MAC A0187-081                                              When was the debt incurred?
              PO Box 7674
              San Francisco, CA 94120-9729
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     93       Wells Fargo Bank                                           Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              MAC 01187-081                                              When was the debt incurred?
              PO Box 7674
              San Francisco, CA 94120-7674
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     94       Wells Fargo Bank N.A.                                      Last 4 digits of account number       1380                                                   $0.00
              Nonpriority Creditor's Name
              PO Box 29482                                               When was the debt incurred?
              Phoenix, AZ 85038
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed



    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 239 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     95       Wells Fargo Card Services                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 51963                                               When was the debt incurred?
              Los Angeles, CA 90051-6263
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.6      Wells Fargo Equipment Financig
     96       Inc.                                                       Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              733 Marquette Ave., Ste. 700                               When was the debt incurred?
              Minneapolis, MN 55402
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     97       Wells Fargo Home Mortgage                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              POBox 30427                                                When was the debt incurred?
              Los Angeles, CA 90030-0427
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 240 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.6
     98       West America Bank                                          Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 1260                                                When was the debt incurred?
              Suisun City, CA 94585
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.6
     99       West Mark Service CCenters                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 100                                                 When was the debt incurred?
              Los Angeles, CA 90030-0427
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     00       Westar Transportation                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              9220 E South Ave.                                          When was the debt incurred?
              Selma, CA 93662
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 241 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.7
     01       Western Manufaturing Corp                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2476 S Railroad Ave                                        When was the debt incurred?
              Fresno, CA 93706-5109
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     02       Western Propane Gas Association                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2131 Capital Ave. #206                                     When was the debt incurred?
              Sacramento, CA 95816-5755
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed


     4.7      Williams Broderson Pritchtt &
     03       Burke LLP                                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              2222 West Main Street                                      When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 242 of 246
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Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.7
     04       Wingfoo Comm Tire Systems LLC                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              7041 Ave 304                                               When was the debt incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     05       Winston Tire Co                                            Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              Accounts Receivables                                       When was the debt incurred?
              PO Box 7749
              Burbank, CA 91510-7749
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     06       Wise Engineering Inc.                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 709                                                 When was the debt incurred?
              Visalia, CA 93279
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 243 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.7
     07       World Fuel Services, Inc.                                  Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              9800 N.W. 41st Street, Suite 400                           When was the debt incurred?
              Miami, FL 33178
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     08       World Wide Alternator                                      Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              1730 E Main Street                                         When was the debt incurred?
              Visalia, CA 93292
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     09       Worthington Cylinder Corp.                                 Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 751621                                              When was the debt incurred?
              Charlotte, NC 28275-1621
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 244 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                    Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                              Case number (if known)         19-14644-A-7

     4.7
     10       Yellowstone Capital                                        Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              160 Pearl St. 5th Fl                                       When was the debt incurred?
              New York, NY 10005-1631
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     11       YP                                                         Last 4 digits of account number                                                              $0.00
              Nonpriority Creditor's Name
              PO Box 5021                                                When was the debt incurred?
              Carol Stream, IL 60197-5021
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice of possible and potential debts
                  Yes                                                       Other. Specify   owed

     4.7
     12       Zions Managment Srvc C                                     Last 4 digits of account number       4446                                                   $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 01/07 Last Active
              2200 So 3270 West                                          When was the debt incurred?           3/25/10
              Salt Lake City, UT 84119
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 245 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 11/15/19                                                                     Case 19-14644                                                                             Doc 14
     Debtor 1 Donald Duane Rose
     Debtor 2 Janice Marie Rose                                                                               Case number (if known)          19-14644-A-7

     4.7
     13        ZNew West Petroleum Inc.                                  Last 4 digits of account number                                                               $0.00
               Nonpriority Creditor's Name
               Dept 33084                                                When was the debt incurred?
               PO Box 39000
               San Francisco, CA 94139-3084
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                   Debtor 1 only
                                                                              Contingent
                   Debtor 2 only
                                                                              Unliquidated
                   Debtor 1 and Debtor 2 only                                 Disputed
                   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                     Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                   No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                               Notice of possible and potential debts
                   Yes                                                        Other. Specify   owed

     Part 3:       List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Part 4:       Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                     Total Claim
                            6a.    Domestic support obligations                                                  6a.       $                         0.00
     Total
     claims
     from Part 1            6b.    Taxes and certain other debts you owe the government                          6b.       $                         0.00
                            6c.    Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                            6d.    Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                            6e.    Total Priority. Add lines 6a through 6d.                                      6e.       $                         0.00

                                                                                                                                     Total Claim
                            6f.    Student loans                                                                 6f.       $                         0.00
     Total
     claims
     from Part 2            6g.    Obligations arising out of a separation agreement or divorce that
                                   you did not report as priority claims                                         6g.       $                         0.00
                            6h.    Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                            6i.    Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                                   here.                                                                                   $                  228,031.00

                            6j.    Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  228,031.00




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 246 of 246
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
Filed 11/15/19                                                                  Case 19-14644                                                                         Doc 14
     Fill in this information to identify your case:

     Debtor 1                  Donald Duane Rose
                               First Name                         Middle Name            Last Name

     Debtor 2                  Janice Marie Rose
     (Spouse if, filing)       First Name                         Middle Name            Last Name


     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number           19-14644-A-7
     (if known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


               Person or company with whom you have the contract or lease                   State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code

         2.1       Sunnova Solar                                                              Solar Panels
                   20 E Green Way Plaza, Suite 475
                   Houston, TX 77046




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
Filed 11/15/19                                                                      Case 19-14644                                                             Doc 14
     Fill in this information to identify your case:

     Debtor 1                   Donald Duane Rose
                                First Name                            Middle Name          Last Name

     Debtor 2                   Janice Marie Rose
     (Spouse if, filing)        First Name                            Middle Name          Last Name


     United States Bankruptcy Court for the:                 EASTERN DISTRICT OF CALIFORNIA

     Case number           19-14644-A-7
     (if known)                                                                                                                      Check if this is an
                                                                                                                                     amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                       12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

               No
               Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

        3.1                                                                                                  Schedule D, line
                    Name
                                                                                                             Schedule E/F, line
                                                                                                             Schedule G, line
                    Number             Street
                    City                                      State                         ZIP Code




        3.2                                                                                                  Schedule D, line
                    Name
                                                                                                             Schedule E/F, line
                                                                                                             Schedule G, line
                    Number             Street
                    City                                      State                         ZIP Code




    Official Form 106H                                                                 Schedule H: Your Codebtors                                 Page 1 of 1
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Filed 11/15/19                                                         Case 19-14644                                                                        Doc 14



     Fill in this information to identify your case:

     Debtor 1                      Donald Duane Rose

     Debtor 2                      Janice Marie Rose
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number               19-14644-A-7                                                                 Check if this is:
     (If known)
                                                                                                                An amended filing
                                                                                                                A supplement showing postpetition chapter
                                                                                                                13 income as of the following date:

     Official Form 106I                                                                                         MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                           12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                   Employed
            attach a separate page with           Employment status
            information about additional                                   Not employed                               Not employed
            employers.
                                                  Occupation            Disabled                                   Retired/disabled
            Include part-time, seasonal, or
            self-employed work.                   Employer's name

            Occupation may include student        Employer's address
            or homemaker, if it applies.


                                                  How long employed there?

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1          For Debtor 2 or
                                                                                                                                non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $              0.00       $            0.00

     3.     Estimate and list monthly overtime pay.                                             3.   +$              0.00       +$           0.00

     4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $           0.00              $      0.00




    Official Form 106I                                                       Schedule I: Your Income                                                page 1
Filed 11/15/19                                                       Case 19-14644                                                                              Doc 14


     Debtor 1   Donald Duane Rose
     Debtor 2   Janice Marie Rose                                                                     Case number (if known)    19-14644-A-7


                                                                                                          For Debtor 1            For Debtor 2 or
                                                                                                                                  non-filing spouse
          Copy line 4 here                                                                     4.         $              0.00     $             0.00

     5.   List all payroll deductions:
          5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $                0.00
          5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $                0.00
          5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $                0.00
          5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $                0.00
          5e.   Insurance                                                                      5e.        $              0.00     $                0.00
          5f.   Domestic support obligations                                                   5f.        $              0.00     $                0.00
          5g.   Union dues                                                                     5g.        $              0.00     $                0.00
          5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $                0.00
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $              0.00     $                0.00
          8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $          0.00         $             0.00
          8d. Unemployment compensation                                                        8d.        $          0.00         $             0.00
          8e. Social Security                                                                  8e.        $      2,116.50         $           982.00
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                    0.00   $               0.00
          8g. Pension or retirement income                                                     8g. $                     0.00   $             864.13
          8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,116.50         $           1,846.13

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,116.50 + $         1,846.13 = $           3,962.63
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                     0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                        12.    $          3,962.63
                                                                                                                                               Combined
                                                                                                                                               monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain:




    Official Form 106I                                                      Schedule I: Your Income                                                        page 2
Filed 11/15/19                                                               Case 19-14644                                                                        Doc 14



      Fill in this information to identify your case:

      Debtor 1                 Donald Duane Rose                                                                 Check if this is:
                                                                                                                     An amended filing
      Debtor 2                 Janice Marie Rose                                                                     A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                            13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number           19-14644-A-7
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                                12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?

                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

            Do not state the                                                                                                                      No
            dependents names.                                                                                                                     Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                       Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                                  0.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                             0.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           150.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




      Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
Filed 11/15/19                                                             Case 19-14644                                                                                   Doc 14


      Debtor 1     Donald Duane Rose
      Debtor 2     Janice Marie Rose                                                                         Case number (if known)      19-14644-A-7

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                     6a. $                                                 470.00
            6b. Water, sewer, garbage collection                                                   6b. $                                                  48.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 150.00
            6d. Other. Specify:                                                                    6d. $                                                   0.00
      7.    Food and housekeeping supplies                                                           7. $                                                700.00
      8.    Childcare and children’s education costs                                                 8. $                                                  0.00
      9.    Clothing, laundry, and dry cleaning                                                      9. $                                                200.00
      10.   Personal care products and services                                                    10. $                                                 180.00
      11.   Medical and dental expenses                                                            11. $                                                 150.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                 250.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  30.00
      14.   Charitable contributions and religious donations                                       14. $                                                   0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                    0.00
            15b. Health insurance                                                                15b. $                                                  896.00
            15c. Vehicle insurance                                                               15c. $                                                  190.00
            15d. Other insurance. Specify:                                                       15d. $                                                    0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                               16. $                                                    0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
            17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
            17c. Other. Specify:                                                                 17c. $                                                     0.00
            17d. Other. Specify:                                                                 17d. $                                                     0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                     0.00
            20b. Real estate taxes                                                               20b. $                                                     0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
      21.   Other: Specify:                                                                        21. +$                                                   0.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                     $                       3,414.00
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,414.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,962.63
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,414.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                                 548.63

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
               No.
               Yes.             Explain here: increase in expenes will be paying rent starting in January




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 11/15/19                                                                Case 19-14644                                                                         Doc 14




     Fill in this information to identify your case:

     Debtor 1                    Donald Duane Rose
                                 First Name                     Middle Name             Last Name

     Debtor 2                    Janice Marie Rose
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number              19-14644-A-7
     (if known)                                                                                                                           Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No

                    Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Donald Duane Rose                                                     X   /s/ Janice Marie Rose
                  Donald Duane Rose                                                         Janice Marie Rose
                  Signature of Debtor 1                                                     Signature of Debtor 2

                  Date       November 15, 2019                                              Date    November 15, 2019




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
Filed 11/15/19                                                                  Case 19-14644                                                                           Doc 14



     Fill in this information to identify your case:

     Debtor 1                  Donald Duane Rose
                               First Name                       Middle Name                  Last Name

     Debtor 2                  Janice Marie Rose
     (Spouse if, filing)       First Name                       Middle Name                  Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           19-14644-A-7
     (if known)                                                                                                                                Check if this is an
                                                                                                                                               amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/19
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                   Married
                   Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                   No
                   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                     lived there                                                                   lived there

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                   No
                   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                   No
                   Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income           Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                        exclusions)                                                and exclusions)




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     Debtor 1      Donald Duane Rose
     Debtor 2      Janice Marie Rose                                                                           Case number (if known)   19-14644-A-7

    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income            Gross income
                                                       Describe below.                  each source                    Describe below.              (before deductions
                                                                                        (before deductions and                                      and exclusions)
                                                                                        exclusions)
     From January 1 of current year until                                                                  $0.00       Retirement Income                      $9,505.43
     the date you filed for bankruptcy:


                                                       Social Security                              $28,885.00         Social Security                      $14,206.50
                                                       Disability                                                      Benefits

     For last calendar year:                                                                               $0.00       Retirement Income                    $18,674.00
     (January 1 to December 31, 2018 )


                                                       Social Security                              $31,506.00         Social Security                      $15,498.00
                                                       Benefits                                                        Benefits

     For the calendar year before that:                                                                    $0.00       Retirement Income                      $9,815.00
     (January 1 to December 31, 2017 )


     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
               No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                     individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                              No.      Go to line 7.
                              Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                              No.      Go to line 7.
                              Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.


           Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                         paid            still owe
           New Rez                                                   9/2019                         $3,304.00         $315,000.00          Mortgage
           PO Box 740039                                             8/2019                                                                Car
           Cincinnati, OH 45274                                      7/2019
                                                                                                                                           Credit Card
                                                                                                                                           Loan Repayment
                                                                                                                                           Suppliers or vendors
                                                                                                                                           Other




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     Debtor 1      Donald Duane Rose
     Debtor 2      Janice Marie Rose                                                                           Case number (if known)    19-14644-A-7

    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
          of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
          a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
          alimony.

                No
                Yes. List all payments to an insider.
           Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe

    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
           Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe       Include creditor's name

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

                No
                Yes. Fill in the details.
           Case title                                                Nature of the case         Court or agency                          Status of the case
           Case number
           Idemitsu Apollo Corporation vs.                           Complaint Breach           Superior Court of California                Pending
           Donald Rose et, al                                        of Contract                County of Sacramento                        On appeal
                                                                                                720 Ninth Street, Room 101                  Concluded
                                                                                                Sacramento, CA 95814

           1913956
           34-2019-00264739

           River City Petroleum, Inc. vs.                            Complaint                  Yolo County Superior Court                  Pending
           Ronald Rose                                               Breach of                  1000 Main Street                            On appeal
           CV19-1615                                                 Contract                   Woodland, CA 95695                          Concluded


           Kodiak Mining & Minerals and                              Subpoena to                United States Bankruptcy                    Pending
           Hellenic Petroleum, LLC                                   testify at a               Court                                       On appeal
           v.                                                        Deposition or              Eastern District of                         Concluded
           Trudi Manfredo Chapter 7 Trustee                          Adversay                   California
           of Don Rose Oil Co.                                       Proceeding in a            2500 Tulare Street
           17-01086                                                  CHapter 7                  Fresno, CA 93711
                                                                     Bankruptcy


    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

                No. Go to line 11.
                Yes. Fill in the information below.
           Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                                 property
                                                                     Explain what happened




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     Debtor 1      Donald Duane Rose
     Debtor 2      Janice Marie Rose                                                                           Case number (if known)    19-14644-A-7

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
                No
                Yes. Fill in the details.
           Creditor Name and Address                                 Describe the action the creditor took                        Date action was               Amount
                                                                                                                                  taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

                No
                Yes

     Part 5:      List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
                Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                   Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
                No
                Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)

     Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
        or gambling?

                No
                Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
           how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                                insurance claims on line 33 of Schedule A/B: Property.

     Part 7:      List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
           Address                                                       transferred                                              or transfer was             payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You
           Law Office of Scott Lyons                                     Attorney Fees $2,250.00                                  9/30/2019                  $2,585.00
           1010 West Main Street                                         Filimng fee $335.00
           Visalia, CA 93291
           scottlyons@lyons4justice.com




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
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     Debtor 1      Donald Duane Rose
     Debtor 2      Janice Marie Rose                                                                           Case number (if known)    19-14644-A-7

    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
           Address                                                       transferred                                              or transfer was              payment
                                                                                                                                  made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
                No
                Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
           Address                                                       property transferred                       payments received or debts      made
                                                                                                                    paid in exchange
           Person's relationship to you

    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
                No
                Yes. Fill in the details.
           Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                    made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
                No
                Yes. Fill in the details.
           Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
           Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
           Code)                                                                                                            moved, or                         transfer
                                                                                                                            transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

                No
                Yes. Fill in the details.
           Name of Financial Institution                                 Who else had access to it?            Describe the contents                    Do you still
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                 have it?
                                                                         State and ZIP Code)


    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                No
                Yes. Fill in the details.
           Name of Storage Facility                                      Who else has or had access            Describe the contents                    Do you still
           Address (Number, Street, City, State and ZIP Code)            to it?                                                                         have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 5
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     Debtor 1      Donald Duane Rose
     Debtor 2      Janice Marie Rose                                                                                Case number (if known)   19-14644-A-7

     Part 9:      Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

                No
                Yes. Fill in the details.
           Owner's Name                                                  Where is the property?                     Describe the property                               Value
           Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                         Code)

           Don Rose Oil Company                                          5438 W Prospect Dr.                        2012 Chevrolet 1500                           Unknown
           205 N Ben Maddox Way                                          Visalia, CA 93291                          Silverado
           Visalia, CA 93292

           Don Rose Oil Company                                          5438 W Prospect Dr.                        2008 Lincoln Town Car                         Unknown
           205 N Ben Maddox Way                                          Visalia, CA 93291
           Visalia, CA 93292


     Part 10:     Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you            Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you            Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No
                Yes. Fill in the details.
           Case Title                                                    Court or agency                            Nature of the case                      Status of the
           Case Number                                                   Name                                                                               case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 11:     Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                     A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                     A member of a limited liability company (LLC) or limited liability partnership (LLP)

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Filed 11/15/19                                                                  Case 19-14644                                                                          Doc 14
     Debtor 1      Donald Duane Rose
     Debtor 2      Janice Marie Rose                                                                           Case number (if known)   19-14644-A-7


                     A partner in a partnership

                     An officer, director, or managing executive of a corporation

                     An owner of at least 5% of the voting or equity securities of a corporation

                 No. None of the above applies. Go to Part 12.

                 Yes. Check all that apply above and fill in the details below for each business.
            Business Name                                            Describe the nature of the business             Employer Identification number
            Address                                                                                                  Do not include Social Security number or ITIN.
            (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed
            Don Rose Oil                                             gasoline, diesel, propane,                      EIN:
            205 Ben Maddox
            Visalia, CA 93292                                                                                        From-To      7/1972 - 2015


    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                 No
                 Yes. Fill in the details below.
            Name                                                     Date Issued
            Address
            (Number, Street, City, State and ZIP Code)

     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Donald Duane Rose                                                   /s/ Janice Marie Rose
     Donald Duane Rose                                                       Janice Marie Rose
     Signature of Debtor 1                                                   Signature of Debtor 2

     Date      November 15, 2019                                             Date     November 15, 2019

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
       No
       Yes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       No
       Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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Filed 11/15/19                                                                Case 19-14644                                                                   Doc 14


     Fill in this information to identify your case:

     Debtor 1                 Donald Duane Rose
                              First Name                        Middle Name              Last Name

     Debtor 2                 Janice Marie Rose
     (Spouse if, filing)      First Name                        Middle Name              Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           19-14644-A-7
     (if known)                                                                                                                      Check if this is an
                                                                                                                                     amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
        creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                   secures a debt?                                    as exempt on Schedule C?



        Creditor's         New Rez                                              Surrender the property.                            No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a               Yes
        Description of       5438 W Prospect Ave. Visalia,                      Reaffirmation Agreement.
        property             CA 93291 Tulare County                             Retain the property and [explain]:
        securing debt:                                                         Retain property and allow Chapter 7
                                                                              Trustee to Sell it


        Creditor's         Sunnova Solar                                        Surrender the property.                            No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a               Yes
        Description of       Solar Panels                                       Reaffirmation Agreement.
        property                                                                Retain the property and [explain]:
        securing debt:

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                       Will the lease be assumed?


    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 1

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     Debtor 1      Donald Duane Rose
     Debtor 2      Janice Marie Rose                                                                     Case number (if known)   19-14644-A-7



     Lessor's name:               Sunnova Solar                                                                                    No

                                                                                                                                   Yes

     Description of leased        Solar Panels
     Property:



     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Donald Duane Rose                                                        X /s/ Janice Marie Rose
           Donald Duane Rose                                                               Janice Marie Rose
           Signature of Debtor 1                                                           Signature of Debtor 2

           Date        November 15, 2019                                                Date    November 15, 2019




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 2

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     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Donald Duane Rose
     Debtor 2              Janice Marie Rose                                                                   1. There is no presumption of abuse
     (Spouse, if filing)
                                                                                                               2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                   applies will be made under Chapter 7 Means Test
                                                                                                                   Calculation (Official Form 122A-2).
     Case number           19-14644-A-7
     (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.
                                                                                                               Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                   Column B
                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                      non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                               0.00      $              0.00
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                               0.00      $              0.00
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                    0.00      $              0.00
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from rental or other real property            $       0.00 Copy here -> $                    0.00      $              0.00
                                                                                                           $                0.00      $              0.00
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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Filed 11/15/19                                                               Case 19-14644                                                                                      Doc 14

     Debtor 1     Donald Duane Rose
     Debtor 2     Janice Marie Rose                                                                          Case number (if known)   19-14644-A-7


                                                                                                         Column A                     Column B
                                                                                                         Debtor 1                     Debtor 2 or
                                                                                                                                      non-filing spouse
      8. Unemployment compensation                                                                       $                  0.00      $             0.00
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here:
              For you                                          $                    0.00
                For your spouse                                          $                    0.00
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                         $                  0.00      $           864.13
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                       $                  0.00      $             0.00
                                                                                                         $                  0.00      $             0.00
                      Total amounts from separate pages, if any.                                     +   $                  0.00      $             0.00

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.                $             0.00       +   $       864.13       =    $          864.13

                                                                                                                                                        Total current monthly
                                                                                                                                                        income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>              $              864.13

                  Multiply by 12 (the number of months in a year)                                                                                           x 12
           12b. The result is your annual income for this part of the form                                                                  12b. $            10,369.56

      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                 CA

           Fill in the number of people in your household.                        2
           Fill in the median family income for your state and size of household.                                                           13.     $         77,167.00
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Donald Duane Rose                                                  X /s/ Janice Marie Rose
                    Donald Duane Rose                                                          Janice Marie Rose
                    Signature of Debtor 1                                                      Signature of Debtor 2
            Date November 15, 2019                                                     Date November 15, 2019
                 MM / DD / YYYY                                                             MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.



    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                       page 2
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     Debtor 1    Donald Duane Rose
     Debtor 2    Janice Marie Rose                                                                    Case number (if known)   19-14644-A-7


                                                       Current Monthly Income Details for the Debtor

    Debtor Income Details:
    Income for the Period 05/01/2019 to 10/31/2019.

    Non-CMI - Social Security Act Income
    Source of Income: Social Security Benefits
    Constant income of $2,625.50 per month.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                      page 3
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     Debtor 1    Donald Duane Rose
     Debtor 2    Janice Marie Rose                                                                    Case number (if known)   19-14644-A-7

                                               Current Monthly Income Details for the Debtor's Spouse

    Spouse Income Details:
    Income for the Period 05/01/2019 to 10/31/2019.

    Line 9 - Pension and retirement income
    Source of Income: retiremenet
    Constant income of $864.13 per month.



    Non-CMI - Social Security Act Income
    Source of Income: Social Security Benefits
    Constant income of $1,291.50 per month.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                      page 4
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    Notice Required by 11 U.S.C. § 342(b) for
    Individuals Filing for Bankruptcy (Form 2010)


                                                                                              Chapter 7:         Liquidation
     This notice is for you if:
                                                                                                      $245      filing fee
            You are an individual filing for bankruptcy,
            and                                                                                        $75   administrative fee

            Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
            Consumer debts are defined in 11 U.S.C.
            § 101(8) as “incurred by an individual                                                    $335      total fee
            primarily for a personal, family, or
            household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                              difficulty preventing them from paying their debts
                                                                                              and who are willing to allow their nonexempt
     The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
     individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                              your debts discharged. The bankruptcy discharge
     Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
     one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                              for particular debts, and liens on property may still
            Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                              may have the right to foreclose a home mortgage or
            Chapter 11 - Reorganization                                                       repossess an automobile.

            Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                        for family farmers or                                                 certain kinds of improper conduct described in the
                        fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                              discharge.
            Chapter 13 - Voluntary repayment plan
                        for individuals with regular                                          You should know that even if you file chapter 7 and
                        income                                                                you receive a discharge, some debts are not
                                                                                              discharged under the law. Therefore, you may still
                                                                                              be responsible to pay:
     You should have an attorney review your
     decision to file for bankruptcy and the choice of                                            most taxes;
     chapter.
                                                                                                  most student loans;

                                                                                                  domestic support and property settlement
                                                                                                  obligations;




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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            most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
            restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                              results of the Means Test, the U.S. trustee, bankruptcy
            certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
            papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                              motion is filed, the court will decide if your case should
     You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                              proceed under another chapter of the Bankruptcy
            fraud or theft;                                                                   Code.

            fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
            fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                              subject to your right to exempt the property or a portion
            intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                              property, and the proceeds from property that your
            death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
            motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
            from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                              household items or to receive some of the proceeds if
     If your debts are primarily consumer debts, the court                                    the property is sold.
     can dismiss your chapter 7 case if it finds that you have
     enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
     You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
     Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
     individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
     form will determine your current monthly income and                                      proceeds to your creditors.
     compare whether your income is more than the median
     income that applies in your state.

     If your income is not above the median for your state,
     you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
     the Chapter 7 Means Test Calculation (Official Form
     122A–2).
                                                                                                          $1,167    filing fee
     If your income is above the median for your state, you
     must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
     Calculation (Official Form 122A–2). The calculations on
                                                                                                          $1,717    total fee
     the form— sometimes called the Means Test—deduct
     from your income living expenses and payments on
                                                                                              Chapter 11 is often used for reorganizing a business,
     certain debts to determine any amount available to pay
                                                                                              but is also available to individuals. The provisions of
     unsecured creditors. If
                                                                                              chapter 11 are too complicated to summarize briefly.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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            Read These Important Warnings

                 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                 your property, you should hire an attorney and carefully consider all of your options before you file.
                 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                 properly and protect you, your family, your home, and your possessions.

                 Although the law allows you to represent yourself in bankruptcy court, you should understand that
                 many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
                 or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
                 following all of the legal requirements.

                 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                 necessary documents.

                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                              Under chapter 13, you must file with the court a plan
     Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
                 farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                              the court approves your plan, the court will allow you
                                                                                              to repay your debts, as adjusted by the plan, within 3
                       $200        filing fee                                                 years or 5 years, depending on your income and other
     +                  $75        administrative fee                                         factors.
                       $275        total fee
                                                                                              After you make all the payments under your plan,
     Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
     and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
     using future earnings and to discharge some debts that                                   pay include:
     are not paid.
                                                                                                     domestic support obligations,

                                                                                                     most student loans,
     Chapter 13: Repayment plan for
                 individuals with regular                                                            certain taxes,
                 income
                                                                                                     debts for fraud or theft,

                       $235        filing fee                                                        debts for fraud or defalcation while acting in a
     +                  $75        administrative fee                                                fiduciary capacity,
                       $310        total fee
                                                                                                     most criminal fines and restitution obligations,
     Chapter 13 is for individuals who have regular income
     and would like to pay all or part of their debts in                                             certain debts that are not listed in your
     installments over a period of time and to discharge                                             bankruptcy papers,
     some debts that are not paid. You are eligible for
     chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
     dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                     certain long-term secured debts.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                              A married couple may file a bankruptcy case
                   Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                              each spouse lists the same mailing address on the
     Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
     you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
     creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
     general financial condition. The court may dismiss your                                  each spouse receive separate copies.
     bankruptcy case if you do not file this information within
     the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
     Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

     For more information about the documents and                                             The law generally requires that you receive a credit
     their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
     http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
     s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                              limited exceptions, you must receive it within the 180
                                                                                              days before you file your bankruptcy petition. This
     Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                              Internet.
            If you knowingly and fraudulently conceal assets
            or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
            of perjury—either orally or in writing—in                                         must complete a financial management instructional
            connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
            fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                              course.
            All information you supply in connection with a
            bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
            Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
            U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
            other offices and employees of the U.S.                                           .
            Department of Justice.
                                                                                              In Alabama and North Carolina, go to:
     Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                              BankruptcyResources/ApprovedCredit
     The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
     address you list on Voluntary Petition for Individuals
     Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
     that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
     Bankruptcy Rule 4002 requires that you notify the court                                  the list.
     of any changes in your address.




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    B2030 (Form 2030) (12/15)
                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
                 Donald Duane Rose
     In re       Janice Marie Rose                                                                                Case No.      19-14644-A-7
                                                                                      Debtor(s)                   Chapter       7

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                  2,250.00
                 Prior to the filing of this statement I have received                                        $                  2,250.00
                 Balance Due                                                                                  $                       0.00

    2.     $    335.00        of the filing fee has been paid.

    3.     The source of the compensation paid to me was:

                      Debtor                  Other (specify):

    4.     The source of compensation to be paid to me is:

                      Debtor                  Other (specify):

    5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]


    7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   Motion to Avoid Lien,
                   Adversary Precedings
                                                                               CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         November 15, 2019                                                            /s/ Scott Lyons
         Date                                                                         Scott Lyons 103931
                                                                                      Signature of Attorney
                                                                                      Law Office of Scott Lyons
                                                                                      1010 West Main Street
                                                                                      Visalia, CA 93291
                                                                                      559-636-8122 Fax: 559-636-0463
                                                                                      scottlyons@lyons4justice.com
                                                                                      Name of law firm




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